Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 1 of 92




                Exhibit A
                    Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 2 of 92                                       E-FILED IN OFFICE - RJ
                                                                                                                        CLERK OF STATE COURT
                                                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                                                             22-C-04589-S2
                                                                                                                          8/12/2022 5:03 PM
                                                                                                                        TIANA P. GARNER, CLERK

                                   IN THE STATE COURT OF GWINNETT COUNTY

                                                           STATE OF GEORGIA

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                                                                                                                 22-C-04589-S2
                                                                                                 CIVIL. ACTION
        ~.~',~ r1                                                                                N[JMBER:

                                          PLAINTIFF


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                                                                SUNiMONS

TO THE ABOVE NAMED DEFENDANT:
                                                                                                                        whose name
  You ai-e Itereby stimmoned and required to file with the Clerk of said cow-t and serve upon the Plaintift"s attorney,
and address is:
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                                                          .~.fl~ta3 GA 3036~9
                                                             4fJ4-9f>9-t28d,
                                                                                                                            exclusive of
an answer to tlte complaint witicit ls lierewith served upost yoa, wititin 30 days after service of this sumnions upon you,
                                                                                             the  relief demanded in the complaint,
the day of service. If you fail to do so, judgment by default will be taken against yon for

This                            tlay of                                            ,,       20
                                                                                   TIANA P. GARNER
15th day of August, 2022
                                                                                       Clerk of State Cotirt




                                                                                       By
                                                                                                     Depuky Clerk

                                                                                                                   sheet is nsed.
INSTRUCTIONS: Attacit addendum slicet for adtlitionnl partles if needed, malce notation on this sheet if attdendum

SC-1 Rev. 2011
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 3 of 92                       E-FILED IN OFFICE - RJ
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                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                 22-C-04589-S2
                                                                                             8/12/2022 5:03 PM
                                                                                           TIANA P. GARNER, CLERK
                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 OLA PELAEZ

                                                       CIVIL ACTION FILE
                                                          2-C-04589-S2
                                                       NO?
                                     Plaintiff,
 vs.                                                   (SERVED WITH DISCOVERY)

 BEVARA, INC., MB REAL ESTATE
 SERVICES, INC., JOHN DOES 1-3, AND
 XYZ CORPORATION 1-3
                                      Defendants. I JURY TRIAL DEMANDED

                                         COMPLAINT:

       COMES NOW, Plaintiff Ola Pelaez, by and through undersigned counsel, and files this

Complaint against Defendants Bevara, Inc., MB Real Estate Services, Inc, John Does 1-3, and

XYZ Corporations 1-3, showing this Honorable Court as follows:



       The subject incident occurred at 1800 lOth Avenue, Columbus, Georgia 31901, hereinafter

referred to as "the Property".

                                                  2.

       Defendant Bevara, Inc. is a foreign corporation existing under the laws of Delaware with

its principal place of business in Wisconsin and may be served through its registered agent, Incorp

Services, Inc. at 9040 Roswell Road, Suite 500, Atlanta, Georgia 30050, and is subject to the

jurisdiction of this court. Jurisdiction and venue are appropriate in this Court as to Defendant

Bevara, Inc.

                                                  3.

       Defendant MB Real Estate Services Inc. is a foreign corporation existing under the laws of

Delaware with its principal place of business in Illinois and may be served through its registered

agent, Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092,
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 4 of 92




and is subject to the jurisdiction of this court. Jurisdiction and venue are appropriate in this Court

as to Defendant MB Real Estate Services Inc.

                                                      4.

        Should it be determined that another corporation, entity, or individual owned or was

responsible for the premises involved in the September 1, 2020, incident resulting in injuries to

Plaintiff at the time of said incident and/or owned, occupied, or otherwise had responsibility for

the property located at 1800 lOth Avenue, Columbus, Georgia 31901, where the September 1,

2020 incident occurred, Plaintiff hereby names Defendant XYZ CORPORATIONS 1-3 and

Defendant JOHN DOES 1-3.

                                                      a

        On or about September 1, 2020, Plaintiff was a licensee of the Property.

                                                      :~

        On this date, Plainiiff was properly crossing onto the sidewalk located on the Property. As

Plaintiff traversed toward the aforementioned sidewalk, Plaintiff unexpectedly tripped on the

defective sidewalk that was unmarked as hazard. Upon tripping, Plaintiff fell forward causing

injuries as a result.

                                                      F'i

        Plaintiff sustained serious physical injuries as a result of the subject incident and due to

the negligence of the Defendant(s).

                                                      8.

        At all.times mentioned herein, Defendants owned, operated, possessed, controlled and/or

managed the property located at 1800 l Oth, Avenue, Columbus, Georgia 31901. All Defendants

are jointly and sev.erally liable to Plaintiff.




                                                  Page 2 of 4
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 5 of 92




                                                  a
        At all times relevant, Defendant(s) owed Plaintiff a duty to exercise ordinary care in keeping

the premises and common areas of the Property safe from dangerous conditions, and in proper

maintenance and repair.

                                                 10.

        There were no warnings in the area of the defective sidewalk at the time of the fall.
                                                 11.
        Defendant had exclusive ownership, possession and control over the sidewalk located at 1800
lOth Avenue, Columbus, Georgia 31901, at all times relevant to this litigation.
                                                 12.

        Defendant owed a nondelegable duty of reasonable care in keeping the premises safe for
invitees such as plaintiff.
                                                 13.
        Defendant was negligent in failing to properly inspect the area where the fall occurred, in
failing to remove the hazardous condition, in failing to take adequate measures to protect invitees
from the hazard and in failing to keep the premises safe for invitees.
                                                 14.
        Defendant knew or should have known that the defective sidewalk posed a danger to
invitees on the premises and should have changed, altered, removed, or warned invitees about
defective sidewalk to avoid on the premises.
                                                 15.
        Plaintiff did not know and could not reasonably have learned of the danger posed by the
defective sidewalk.
                                                 16.
        Defendant's negligence was the proximate cause of plaintiff's injuries.
                                                 17.

        As a direct and proximate result of Defendant(s)'s negligence, Plaintiff has incurred

special damages which include, but may not be limited to, medical expenses, mileage, and other




                                              Page 3 of 4
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 6 of 92




  miscellaneous expenses.      Specifically, Plaintiff has incurred approximately $12,315.29 in

  medical expenses to date.

                                                  18.

         As a direct and proximate result of Defendant(s)'s negligence, Plaintiff suffered general

  damages, including pain and suffering, loss of enjoyment of life, and scarring.

         WHEREFORE, Plaintiff prays that this Court award the following relief against
  Defendant(s):
         (A)      That process be issued;
         (B)      That reasonable damages be granted to Plaintiff and against Defendant(s) for past,
                  present and future general and special damages;
         (C)      That all costs of this action be cast against Defendant(s);
         (D)      That Plaintiff be awarded reasonably attorney's fees and expenses of litigation; and
         (E)      Such further relief as the Court deems just and proper.




         Respectfully submitted this 12th day of August, 2022.



                                                          THE FRY I.AW FIRM

                                                         /a/✓~~~ ~ ✓~
                                                         JEFFREY G. JAMES
The Fry Law Firm                                         State Bar of Georgia No.: 860891
1720 Peachtree Street, NW                                G ULLIANA GOEHRING
Suite 500                                                State Bar of Georgia No.: 384447
Atlanta, Georgia 30309                                   Attorneysfor Plaintiff
(404) 969-1284
(404) 969-1285 fax
gulliana@thefrylawfirm.com
gull iana@thefrylawfirm.com
jef[@thefMIawfirm.com




                                               Page 4 of 4
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 7 of 92                         E-FILED IN OFFICE - RJ
                                                                                             CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                   22-C-04589-S2
                                                                                               8/12/2022 5:03 PM
                                                                                            TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 OLA PELAEZ

                                                      CIVIL ACTION FILE
                                                      NO.
                                     Plaintiff,
                                                          22-C-04589-S2
 vs.

 BEVARA, INC., MB REAL ESTATE
 SERVICES, INC., JOHN DOES 1-3, AND
 XYZ CORPORATION 1-3
                                       Defendants.

                         RULE 5.2 CERTIFICATION OF SERVICE

        This is to certify that pursuant to Uniform Superior Court Rule 5.2, I am causing Plaintiff's
First Request for Admissions, Continuing Interrogatories and Request for Production of Documents
to Defendant Bevara, Inc. and Plaintiff's First Request for Admissions, Continuing Interrogatories
and Request for Production of Documents to MB Real Estate Services, Inc. Company to be
personally served on the following parties with the Summons and Complaint:

                 Bevara, Inc.                              1MB Real Estate Services, Inc.,
                  Defendant                                           Defendant
   c/o Incorp Services, Inc., registered agent            c/o Corporation Service Company,
              9040 Roswell Road,                                   registered agent
                  Suite 500,                                         2 Sun Court,
            Atlanta, Georgia 30050                                    Suite 400,
                                                          Peachtree Corners, Georgia 30092


       Respectfully submitted this 12th day of August, 2022.


                                                             THE FRY LAW FIRM


1720 Peachtree Street, NW                                    JEFFREY G. JAMES
Suite 500                                                    State Bar of Georgia #860891
Atlanta, Georgia 30309                                       GULLIANA GOEHRING
(404) 969-1284                                               State Bar of Georgia No.: 384447
(404) 969-1285 fax                                           Attorneysfor Plaintiffs
j eff(c~thefrylawfirm.com
gullianagthefiylawfirm. com
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 8 of 92




                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 OLA PELAEZ

                                                      CIVIL ACTION FILE
                                                      NO.
                                     Plaintiff,
                                                      (SERVED WITH DISCOVERY)
 vs.
 BEVARA, INC., MB REAL ESTATE
 SERVICES, INC., JOHN DOES 1-3, AND
 XYZ CORPORATION 1-3
                                                      JURY TRIAL DEMANDED
                                       Defendants.

           PLAINTIFF'S REOUEST FOR ADMISSIONS, FIRST CONTINUING
       INTERROGATORIES AND REOUEST FOR PRODUCTION OF DOCUMENTS
                TO DEFENDANT MB REAL ESTATE SERVICES INC.

                                      I. INTRODUCTION

        Pursuant to O.C.G.A. § 9-11-36, you are requested to admit or object in writing to the

following Requests for Admissions. If objected to, the reasons therefore shall be stated. The

answer shall specifically deny the matter or set forth in detail the reasons why the answering party

cannot truthfully admit or deny the matter. A denial shall fairly meet the substance of the requested

admission; and when good faith requires that a party qualify his answer or deny only a part of the

of which an admission is requested, he shall specific so much if it as is true and qualify or deny

the remainder. An answering party may not give lack of information or knowledge as a reason for

failure to admit or deny unless he states that he has made reasonable inquiry and that the

information known or readily obtainable by them is insufficient to enable him to admit or deny.

        Pursuant to O.C.G.A. § 9-11-33, you are requested and instructed to answer the following

Interrogatories, separately and fully in writing under oath, and to serve your answer upon counsel

for Plaintiff, Gulliana Goehring and Jeffrey G. James at The Fry Law Firm, 1720 Peachtree Street,

NW, Suite 500, Atlanta, Georgia 30309, within forty-five (45) days after service.


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       These Interrogatories shall be continuing in nature and therefore according to the rules of

the Georgia Civil Practice Act, O.C.G.A. § 9-11-26(e), after you have responded to Interrogatories,

you continue to be under a duty to supplement those Interrogatories, to include information

thereafter acquired with respect to any question directly addressed to the identity and location of

persons having knowledge of discoverable matters and the identity of each person expected to be

called as an expert witness at trial, the subject matter-on which he is expected to testify, and the

substance of his testimony. Furthermore, you are under a continuing duty seasonably to amend a

prior response if you obtain information upon the basis of which you know that the response was

incorrect when made or you know that the response, though correct when made, is no longer true

and the circumstances are such that a failure to amend the response is, in substance, a knowing

concealment. In addition to the above, a further duty to supplement responses may be imposed on

you by agreement of the parties or at any time prior to trial through new requests for

supplementation of prior responses. O.C.G.A. § 9-11-26(e) as amended.

        If you object to any portion of any interrogatory, answer such interrogatory fully to the

extent that such objection does not apply. If you are unable to give an exact date or amount, please

give the best approximate date or amount which can be provided. If you are unable to answer any

part of any Interrogatory, answer the remaining parts as fully as possible and specify which part

or parts you are unable to answer and why.

                                       II. DEFINITIONS

       1.      When used herein, the term "identify" when used in connection with individuals,

means to provide the individual's name, last known address, and current telephone number, if

known. "Identify" when used in connection with documents, means to identify the location of a

document, and the individual who has possession of the document now. If a document is a part of

a group of documents, they may be described by group, provided that the description is sufficient


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to identify the documents contained in the group. If the documents have been previously identified

fully, it may be identified by name in subsequent responses.

       2.      When used herein, the terms "Defendant" or "you" or "your" refer to the Defendant

or Defendants in this action.

       3.      When used herein, "Plaintiff' refers to the Plaintiff(s) in this action.

       4.      As used herein, "document", shall mean, but without limitation, every writing or

record of every type and description that is or has been in the possession, control, or custody of

Defendant(s) or of which Defendant(s) has knowledge, including, without limitation:

correspondence, invoices, contracts, agreements, purchase orders, memoranda, tapes, stenographic

or handwritten notes, studies, publications, books, pamphlets, pictures, films, photographs, voice

recordings, maps, graphs, reports, surveys, or statistical compilations, every copy of such a writing

or record where the original is not in the possession, custody, or control of Defendant(s), and every

copy of every such record where such copy is not an identical copy of an original or where such

copy contains any commentary or notation whatsoever that does not appear on the original.

       5.      As used herein, "person" shall mean any individual, firm, association,

governmental agency, or any other organization or entity.

       6.      As used herein, "date" shall mean the exact date, month, and year, if ascertainable,

or if not, the best available approximation (including relationship to other events).

       7.      As used herein, "identify" or "specify," when used in reference to:

               (a)     a person who is an individual, means to state his full name, present or last

known residence address (designating which) and present and last known business or government

affiliation (designating which) job title, employment address, business, and residence telephone

numbers (designating which);

               (b)     in the case of a document, the title (if any), the date, author, sender,


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recipient, the identity of the person signing it, type of document (i.e.; a letter, memorandum, book,

telegram, chart, etc.) or some other means of identifying it, and its present location;

               (c)     in the case of an oral communication, the date, subject matter,

communicator, communicatee, nature of the communication, whether it was recorded or otherwise

memorialized, and the identity of any witnesses thereto; in the case of a document within the

possession, custody, control, or access of Defendant(s), whether Defendant(s) will make it

available to Plaintiff's attorneys for inspection and/or copying; and in the case of a document that

was, but is no longer, in the possession, custody, or control of Defendant(s), what disposition was

made of it, and why.

       8.      Time -- unless otherwise indicated, each Interrogatory is limited to the period from

the date of the incident, through and including the date of your answer hereto.

       9.      When the identification of documents is requested by these Interrogatories,

Defendant(s) may, in lieu of identification, attach legible copies of the documents to its answer to

the Interrogatories, provided it marks each document to designate the paragraph of the

Interrogatory to which the document is responsive.



                              III. REQUESTS FOR ADMISSIONS



       You have been correctly named in the present cause insofar as the legal designation of your

name is concerned.

                                                 2.

       You have been properly served as a party Defendant.

                                                  3

       Service of process is sufficient with regard to you in this case.


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                                                4.

       The State Court of Gwinnett County has jurisdiction over the subject matter of this case.

                                                5.

       The State Court of Gwinnett County has personal jurisdiction over you as a party

Defendant in this case.

                                                C'~

       Venue is proper in the State Court of Gwinnett County.

                                                7.

       The Complaint states a claim upon which relief can be granted.

                                                8.

       Plaintiff has not failed to join a party under O.C.G.A. § 9-11-19.

                                                9.

       On September 1, 2020, Defendant(s) owned the premises located at 1800 l Oth Avenue,

Columbus, Georgia 31901 (the "Property").

                                               10.

       On September 1, 2020, Defendant(s) operated the Property.

                                               11.

       On September 1, 2020, Defendant(s) managed the Property.

                                               12.

       On September 1, 2020, Defendant(s) collected rent payments from tenants at the Property.

                                               13.

       On September 1, 2020, Defendant(s) were responsible for inspecting and/or maintaining

the conditions at the Property.

                                               14.


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         Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 13 of 92




         Admit that Defendant(s) hired no other company, person or business to assist with the

training of its employees located at the Property.

                                                 15.

         Admit that Defendant(s) had a duty to properly train its/their employees at all applicable

times.

                                                 16.

         Admit that Defendant(s) had a duty to properly supervise their employees at all applicable

times.

                                                 17.

         Admit that pursuant to the doctrine of Respondent Superior, Defendant(s) are responsible

for the negligent acts of their employees at all applicable times.

                                                 18.

         On September 1, 2020, Plaintiff was a licensee at the Property.

                                                 19.

         On September 1, 2020, Defendant(s) had a duty to ensure the Property was safe from

hazards for their licensees.

                                                 20.

         On September 1, 2020, Defendant(s) breached their duty to Plaintiff to ensure the Property

was safe from hazards for its licensees.

                                                 22.

         On September 1, 2020, Defendant(s) had a duty to warn their licensees of any hazards on

the Property.

                                                 23.

         On September 1, 2020, Defendant(s) breached their duty to warn Plaintiff of any hazards


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on the Property.

                                                   24.

          On September 1, 2020, Defendant(s) breached their duty to warn Plaintiff of any hazard

relating to the defective sidewalk at issue.

                                                   25.

          On September 1, 2020, Plaintiff was injured at the Property.

                                                   26.

          On September 1, 2020, Plaintiff was injured as a result of part of the defective sidewalk on

the Property.

                                                   27.

          On September 1, 2020, licensees of the Property, including but not limited to Plaintiff,

were not given any warning that a hazardous condition existed with respect to the defective

sidewalk at issue.

                                                   28.

          At all applicable times, Plaintiff exercised due care for her own safety.

                                                   29.

          You are aware of no evidence indicating that Plaintiff did not exercise due care for her own

safety at all applicable times.

                                                   30.

        ., You have no knowledge of the extent of injuries sustained by Plaintiff in this case.

                                                   31.

          You have no knowledge of the treatment received by Plaintiff for injuries sustained in this

case.

                                                   32.


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        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 15 of 92




        You have no knowledge of the reasonable charges for treatment received by Plaintiff for

injuries sustained in this incident.



                                       IV. INTERROGATORIES

                                                     1.

        Identify each and every person including job title and present employer, with the exception

of counsel, who provided any information, or assisted in providing any information, in response

to Plaintiff's First Interrogatories to Defendant.

                                                     om

        Identify any and all persons or companies acting or working in any management capacity

at the Property on or about September 1, 2020, including, but not limited to, any property

management companies and/or individuals serving in the role of property manager, assistant

property manager, leasing manager, leasing specialist, or equivalent position(s).

                                                     3.

        Identify in detail any contracts in which you had entered that were in effect on September

1, 2020, with any person or entity to provide property management, general management,

maintenance, repair, and/or security services.

                                                     4. .

        Identify all other employees or agents working on the Property on or about September 1,

2020.

                                                     5..

        Identify the individual(s) or entity(ies) responsible for maintaining the common areas at

the Property on or about September 1, 2020.

                                              '      6.


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       Identify the individual(s) or entity(ies) responsible for inspecting, maintaining and/or

repairing the defective sidewalk at the Property on or about September 1, 2020, and for the 12-

month period prior to that date.

                                                   7.

       Identify the names, addresses, home telephone numbers, places of employment, job titles

or capacities, and present whereabouts of all witnesses who either saw or claim they saw all or any

part of the occurrence complained of in this action, as well as those witnesses who arrived at the

scene immediately or shortly after said occurrence.

                                                   8.

       Identify the names, addresses, home telephone numbers, places of employment, job titles

or capacities, and present whereabouts of all persons who have given written statements,

mechanically recorded statements, or oral statements later reduced to writing to you, your attorney,

your insurance carrier, or anyone else to your knowledge concerning in any way the facts and

circumstances of the incident which is the subject matter of this litigation, listing for each statement

the date of saine and to whom the statement was given.

                                                   9.

       Identify the individual or individuals known to Defendant(s) who possess or purport to

possess knowledge regarding Plaintiff's claim(s) including, specifying the individual(s) who spoke

to or heard from Plaintiff at any time, and/or investigated the subject incident in any way.

                                                  10.

       Identify all persons Defendant(s) expects to call as an expert witness at the trial of this case,

and for each such individual so identified provide that information required pursuant to O.C.G.A.

§ 9-11-26(b)(4)(A)(i).

                                                  11.


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       State in detail how Defendant(s) contend the incident which forms the basis for Plaintiff's

claims occurred, including but not limited to a listing of each person and circumstance

Defendant(s) believe to have caused, or contributed to causing, the subject occurrence.

                                                 12.

       List each act of negligence, contributory, comparative or otherwise, you contend Plaintiff,

or any other person or entity did or failed to do which contributed in any way to the incident upon

which Plaintiff's claims are based and/or Plaintiff's resulting injuries.

                                                 13.

       Identify all training that a Defendant(s)'s employees or agents received with respect to

inspecting and maintaining the common areas, generally, and/or the defective sidewalk,

specifically, at the Property, on or before September 1, 2020.

                                                 14.

       Identify any changes in procedures, policies, practices, rules or regulations regarding, or

physical aspects of, the Property, that were implemented regarding or made at the Property as a

result of the September 1, 2020,incident which caused Plaintiff's injuries.

                                                 15.

       Pursuant to O.C.G.A. § 9-11-26(b)(2), identify all insurance agreements, including any

umbrella and/or excess coverage, upon which Defendant(s) may rely to satisfy part or all of any

judgment which may be entered against Defendant(s) or which may be used to indemnify or

reimburse Defendant(s) for any payment(s) to satisfy any such judgment(s).

                                                 16.

       Identify all security or surveillance cameras located at the Property, the location of such

cameras, whether such cameras were operative on September 1, 2020, and whether any camera

videotaped the incident described in the Complaint.


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                                                 17.

       Do Defendant(s) contend any person or entity other than Defendant(s) or their employees

or agents is, or may be, liable in whole or in part for the claims asserted against Defendant(s) in

this lawsuit? If your answer is anything other than an unqualified "no", state the full name and

address of each such person or entity, the legal basis for Defendant(s)'s contention, the facts or

evidence upon which said contention is based, and whether Defendant(s) has/have notified each

such person or entity of said contention.

                                                 18.

       Describe what steps or procedures Defendant(s) used to warn licensees such as Plaintiff of

the risk of injury from using the defective sidewalk on the Property.

                                                 19.

       Furnish a detailed factual basis for each defense and/or counterclaim asserted in

Defendant(s)'s Answer to the Complaint.

                                                 20.

       For each paragraph of the Complaint or portion thereof denied by Defendant(s), state in

detail all facts upon which Defendant(s) relied in making said denial.

                                                 21.

       Identify all members of, and documents generated by, Defendant(s)'s Safety Team,

Safety Loss Prevention Committee, Risk Control and Safety Committee and/or Accident Review

Board, or Defendant(s)'s equivalents thereto, with respect to the subject incident.

                                                 22.




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        Identify all claims or lawsuits that have previously been brought against Defendant(s) as a

result of injuries or damages alleged to have been sustained as a result of residents or invitees

allegedly injuring themselves at the Property from September 1, 2020, or that date the Property

was opened if after September 1, 2020, to the present.

                                                   23.

        Identify all documents or other evidence relating to any complaint regarding alleged

hazards and/or personal injuries sustained at the Property prior to September l, 2020.

                                                   24.

        Did Defendant(s), their agents, representatives, employees or anyone acting on

Defendant(s)'s behalf conduct an investigation of the subject incident? If the answer is anything

other than an unqualified "no", identify all agents, representatives, employees or anyone acting on

Defendant(s)' behalf who conducted or participated in any portion of the inspection and state

whether any written report or summary was generated.

                                                   25.

        Identify all procedures, policies, practices, requirements, rules or regulations with respect

to inspection, maintenance and/or repair of any aspect of the Property which were in effect on

September 1, 2020.

                                                   FXGI

        With respect to any procedure, policy, practice, requirement, rule or regulation identified

in Defendant(s)'s answer to the preceding interrogatory, state whether any such procedure, policy,

practice, requirement, _rule or regulation was based upon, or otherwise took into account, any

federal, state, county, city or local statute, regulation or law.

                                                   27.




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       State when Defendant first anticipated the possibility of a claim or lawsuit being asserted

or filed by Plaintiff, or otherwise on behalf of Plaintiff, arising out of the subject incident.

                                                  28.

       Describe in detail how the incident, which is the subject of this Complaint,.took place.

                                                  29.

       Do you contend that you were not at fault for causing or failing to prevent the subject

incident?

                                                  30.

       If your response to the preceding interrogatory was in the affirmative, identify all facts in

support of your contention.

                                                  31.

       If you claim that you have not been properly served in this action, please state in detail the

facts in support of said claim.

                                                  32.

       Identify all facts and records that would support any contention that Plaintiffls injuries

preexisted the subject incident or were not caused by the subject incident or that symptoms had

been exaggerated or that treatment was unnecessary or charges improper.



                     REOUEST FOR PRODUCTION OF DOCUlVIENTS



       Please provide any document or thing that was used or referenced in responding to the

Interrogatories listed above.



                                                   2.


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       Please provide copies of any reports that were done in connection with this incident,

including the incident report done at the Property.

                                                  0

       Please provide originals or color copies of all photographs of the Property where the

incident occurred on September 1, 2020, including, but not limited to, all photographs taken of any

person, place or thing involved in the incident, and any photographs of any defective sidewalk(s)

or the surrounding area.

                                                  4.

       Please provide copies of any statements obtained from Plaintiff.

                                                  5.

       Please provide copies of any statements obtained from any witnesses to the incident,

including, but not liinited to, statements from any of your employees or agents regarding the

incident.

                                                  W

       Please provide copies of any video surveillance that was recorded one hour prior to the

incident through one hour after the incident.

                                                  7.

       Please produce copies of all training or safety manuals in effect at the Property at the time

of the subject incident, or in effect at any time during the five (5) years prior to the incident and

through the present.

                                                  8.

       Please produce copies of all documents reflecting inspection, maintenance or of any

common areas of the Property (including, but not limited to, the defective sidewalk(s) from

March 1, 2018 through and including September 1, 2020, and reflecting any inspection,


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maintenance or repair of any defective sidewalks(s) at any time in 2020.

                                                 9.

        Please produce copies of all documents in your possession (including, but not limited to,

pleadings and discovery responses) relating to or otherwise referencing any claim or lawsuit

brought against you for personal injuries allegedly sustained at the Property.

                                                10.

        Please produce copies of all documents or other evidence relating to any complaint

regarding alleged hazards and/or personal injuries sustained at the Property prior to September 1,

2020.

                                                11.

        Please produce copies of any and all documents reflecting the employees or agents

working at the Property at any time on the date of the subject incident (including, but not limited

to, work schedules and time sheets).

                                                12.

        Please provide copies of any and all communications between Defendant(s) or their

agents or representatives, and the Plaintiff or anyone purporting to act on her behalf.

                                                13.

        Pursuant to O.C..G.A. § 9-11-34, Plaintiff hereby requests that Defendant(s) produce all

information and documents produced in the above-styled action in response to any and all of

Defendant(s)'s Non-Party Request for Production of Documents.

                                                14.


        For all experts Defendant(s) may or will call to testify at any trial in this matter, please

produce the following:



                                           Page 15 of 17
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       1) Any and all reports, summaries, notes, calculations and written opinions prepared by
           the expert, including all drafts thereof;
       2) The expert's curriculum vitae;
       3) All correspondence between Defendant(s)'s attorney(s) and the expert, whether by
           mail, fax, email, or any other means;
       4) All correspondence between the expert and any other person/agency relating to the
           subject matter of this lawsuit and/or the expert's work regarding the same;
        5) Any and all materials provided to and/or received from the expert regarding the subject
           matter of this lawsuit and/or the expert's work regarding the same;
        6) All timesheets, invoices, billing statements and other documentation by whatever
            means of the expert's charges and/or compensation for his/her work on this case;
       7) Any and all retainer agreements, scope(s) of work, or similar documents relating to the
            expert's work regarding this case;
        8) Any other documents or materials prepared by, used by, or relied upon by the expert

            relating to the subject matter of this lawsuit and/or the expert's work regarding the

            same.

                                                 15.

        Please produce copies of any and all insurance policies identified by you in your responses

to Plaintiff's Interrogatories.




                                     [signatuYe page follows]




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     Respectfully submitted, this day 12th of Au ust 2022.



                                                        THE FRY LAW FIRM

                                                        /-s/✓t~cy ! s: J~i~•ca
1720 Peachtree Street, NW                               JEFFREY G. JAMES
Suite 500                                               State Bar of Georgia #860891
Atlanta, Georgia 30309                                  GULLIANA GOEHRING
(404) 969-1284                                          State Bar of Georgia No.: 384447
(404) 969-1285 fax                                      Attorneysfor Plaintiffs
j eff(a~thefrylawfirm.com
gullianagthe~rylaw arm.com




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                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

  OLA PELAEZ

                                                      CIVIL ACTION FILE
                                                      NO.
                                     Plaintiff,
  vs.
 BEVARA, INC., MB REAL ESTATE
 SERVICES, INC., JOHN DOES 1-3, AND
 XYZ CORPORATION 1-3
                                       Defendants.

            PLAINTIFF'S REOUEST FOR ADMISSIONS, FIRST CONTINUING
        INTERROGATORIES AND REOUEST FOR PRODUCTION OF DOCUMENTS
                          TO DEFENDANT BEVARA, INC.

                                      I. INTRODUCTION

         Pursuant to O.C.G.A. § 9-11-36, you are requested to admit or object in writing to the

following Requests for Admissions. If objected to, the reasons therefore shall be stated. The

answer shall specifically deny the matter or set forth in detail the reasons why the answering party

cannot truthfully admit or deny the matter. A denial shall fairly meet the substance of the requested

admission; and when good faith requires that a party qualify his answer or deny only a part of the

of which an admission is requested, he shall specific so much if it as is true and qualify or deny

the remainder. An answering party may not give lack of information or knowledge as a reason for

failure to admit or deny unless he states that he has made reasonable inquiry and that the

information known or readily obtainable by them is insufficient to enable him to admit or deny.

         Pursuant to O.C.G.A. § 9-11-33, you are requested and instructed to answer the following

Interrogatories, separately and fully in writing under oath, and to serve your answer upon counsel

for Plaintiff, Gulliana Goehring and Jeffrey G. James at The Fry Law Firm, 1720 Peachtree Street,

NW, Suite 500, Atlanta, Georgia 30309, within forty-five (45) days after service.


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       These Interrogatories shall be continuing in nature and therefore according to the rules of

the Georgia Civil Practice Act, O.C.G.A. § 9-11-26(e), after you have responded to Interrogatories,

you continue to be under a duty to supplement those Interrogatories to include information

thereafter acquired with respect to any question directly addressed to the identity and location of

persons having knowledge of discoverable inatters and the identity of each person expected to be

called as an expert witness at trial, the subject matter on which he is expected to testify, and the

substance of his testimony. Furthermore, you are under a continuing duty seasonably to amend a

prior response if you obtain information upon the basis of which you know that the response was

incorrect when made or you know that the response, though correct when made, is no longer true

and the circumstances are such that a failure to amend the response is, in substance, a knowing

concealment. In addition to the above, a further duty to supplement responses may be imposed on

you by agreement of the parties or at ariy time prior to trial through new requests for

supplementation of prior responses. O.C.G.A. § 9-11-26(e) as amended.

        If you object to any portion of any interrogatory, answer such interrogatory fully to the

extent that such objection does not apply. Ifyou are unable to give an exact date or amount, please

give the best approximate date or amount which can be provided. If you are unable to answer any

part of any Interrogatory, answer the remaining parts as fully as possible and specify which part

or parts you are unable to answer and why.

                                       II. DEFINITION5

       1.      When used herein, the term "identify" when used in connection with individuals,

means to provide the individual's name, last known address, and current telephone number, if

known. "Identify" when used in connection with documents, means to identify the location of a

document, and the individual who has possession of the document now. If a document is a part of

a group of documents, they may be described by group, provided that the description is sufficient


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to identify the documents contained in the group. If the documents have been previously identified

fully, it may be identified by name in subsequent responses.

       2.      When used herein, the terms "Defendant" or "you" or "your" refer to the Defendant

or Defendants in this action.

       3.      When used herein, "Plaintiff' refers to the Plaintiff(s) in this action.

       4.      As used herein, "document" shall mean, but without limitation, every writing or

record of every type and description that is or has been in the possession, control, or custody of

Defendant(s) or of which Defendant(s) has knowledge, including, without limitation:

correspondence, invoices, contracts, agreements, purchase orders, memoranda, tapes, stenographic

or handwritten notes, studies, publications, books, pamphlets, pictures, films, photographs, voice

recordings, maps, graphs, reports, surveys, or statistical compilations, every copy of such a writing

or record where the original is not in the possession, custody, or control of Defendant(s), and every

copy of every such record where such copy is not an identical copy of an original or where such

copy contains any commentary or notation whatsoever that does not appear on the original.

       5.      As used herein, "person" shall mean any individual, firm, association,

governmental agency, or any other organization or entity.

       6.      As used herein, "date" shall mean the exact date, month, and year, if ascertainable,

or if not, the best available approximation (including relationship to other events).

       7.      As used herein, "identify" or "specify," when used in reference to:

               (a)     a person who is an individual, means to state his full name, present or last

known residence address (designating which) and present and last known business or government

affiliation (designating which) job title, employment address, business, and residence telephone

numbers (designating which);

               (b)     in the case of a document, the title (if any), the date, author, sender,


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recipient, the identity of the person signing it, type of document (i.e., a letter, memorandum, book,

telegram, chart, etc.) or some other means of identifying it, and its present location;

               (c)     in the case of an oral communication, the date, subject matter,

communicator, communicatee, nature of the communication, whether it was recorded or otherwise

memorialized, and the identity of any witnesses thereto; in the case of a document within the

possession, custody, control, or access of Defendant(s), whether Defendant(s) will make it

available to Plaintiff's attorneys for inspection and/or copying; and in the case of a document that

was, but is no longer, in the possession, custody, or control of Defendant(s), what disposition was

made of it, and why.

       8.      Time -- unless otherwise indicated, each Interrogatory is limited to the period from

the date of the incident, through and including the date of your answer hereto.

       9.      When the identification of documents is requested by these Interrogatories,

Defendant(s) may, in lieu of identification, attach legible copies of the documents to its answer to

the Interrogatories, provided it marks each document to designate the paragraph of the

Interrogatory to which the document is responsive.



                             III. REQUESTS FOR ADMISSIONS

                                                 1.

       You have been correctly named in the present cause insofar as the legal designation of your

name is concerned.

                                                 Pi


       You have been properly served as a party Defendant.

                                                 3.

       Service of process is sufficient with regard to you in this case.


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                                                4.

       The State Court of Gwinnett County has jurisdiction over the subject matter of this case.

                                                5.

       The State Court of Gwinnett County has personal jurisdiction over you as a party

Defendant in this case.

                                                6.

       Venue is proper in the State Court of Gwinnett County.

                                                7.

       The Complaint states a claim upon which relief can be granted.

                                                8.

       Plaintiff has not failed to join a party under O.C.G.A. § 9-11-19.

                                                9.

       On September l, 2020, Defendant(s) owned the premises located at 1800 lOth Avenue,

Columbus, Georgia 31901 (the "Property").

                                               10.

       On September l, 2020, Defendant(s) operated the Property.

                                               11.

       On September 1, 2020, Defendant(s) managed the Property.

                                               12.

       On September 1, 2020, Defendant(s) collected rent payments from tenants at the Property.

                                               13.

       On September 1, 2020, Defendant(s) were responsible for inspecting and/or maintaining

the conditions at the Property.

                                                14.


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         Admit that Defendant(s) hired no other company, person or business to assist with the

training of its employees located at the Property.

                                                 15.

         Admit that Defendant(s) had a duty to properly train its/their employees at all applicable

times.

                                                 16.

         Admit that Defendant(s) had a duty to properly supervise their employees at all applicable

times.

                                                 17.

         Admit that pursuant to the doctrine of Respondent Superior, Defendant(s) are responsible

for the negligent acts of their employees at all applicable times.

                                                 18.

         On September 1, 2020, Plaintiff was a licensee at the Property.

                                                 19.

         On September 1, 2020, Defendant(s) had a duty to ensure the Property was safe from

hazards for their licensees.

                                                 20.

         On September 1, 2020, Defendant(s) breached their duty to Plaintiff to ensure the Property

was safe from hazards for its licensees.

                                                 22.

         On September 1, 2020, Defendant(s) had a duty to warn their licensees of any hazards on

the Property.

                                                 23.

         On September 1, 2020, Defendant(s) breached their duty to warn Plaintiff of any hazards


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on the Property.

                                                   24.

        On September 1, 2020, Defendant(s) breached their duty to warn Plaintiff of any hazard

relating to the defective sidewalk at issue.

                                                   25.

        On September 1, 2020, Plaintiff was injured at the Property.

                                                   26.

        On September 1, 2020, Plaintiff was injured as a result of part of the defective sidewalk on

the Property.

                                                   27.

        On September 1, 2020, licensees of the Property, including but not limited to Plaintiff,

were not given any warning that a hazardous condition existed with respect to the defective

sidewalk at issue.

                                                   28.

        At all applicable times, Plaintiff exercised due care for her own safety.

                                                   29.

        You are aware of no evidence indicating that Plaintiff did not exercise due care for her own

safety at all applicable times.

                                                   30.

        You have no knowledge of the extent of injuries sustained by Plaintiff in this case.

                                                   31.

        You have no knowledge of the treatment received by Plaintiff for injuries sustained in this

case.

                                                   32.


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        You have no knowledge of the reasonable charges for treatment received by Plaintiff for

injuries sustained in this incident.



                                       IV. INTERROGATORIES



        Identify each and every person including job title and present employer, with the exception

of counsel, who provided any information, or assisted in providing any information, in response

to Plaintiff's First Interrogatories to Defendant.

                                                     2.

        Identify any and all persons or companies acting or working in any management capacity

at the Property on or about September 1, 2020, including, but not limited to, any property

management companies and/or individuals serving in the role of property manager, assistant

property manager, leasing manager, leasing specialist, or equivalent position(s).

                                                     3.

        Identify in detail any contracts in which you had entered that were in effect on September

1, 2020, with any person or entity to provide property management, general management,

maintenance, repair, and/or security services.

                                                     !~


        Identify all other employees or agents working on the Property on or about September 1,

2020.

                                                     5.

        Identify the individual(s) or entity(ies) responsible for maintaining the common areas at

the Property on or about September 1, 2020.

                                                     6.


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       Identify the individual(s) or entity(ies) responsible for inspecting, maintaining and/or

repairing the defective sidewalk at the Property on or about September 1, 2020, and for the 12-

month period prior to that date.

                                                  7.

       Identify the names, addresses, home telephone numbers, places of employment, job titles

or capacities, and present whereabouts of all witnesses who either saw or claim they saw all or any

part of the occurrence complained of in this action, as well as those witnesses who arrived at the

scene immediately or shortly after said occurrence.

                                                  8.

       Identify the names, addresses, home telephone numbers, places of employment, job titles

or capacities, and present whereabouts of all persons who have given written statements,

mechanically recorded statements, or oral statements later reduced to writing to you, your attorney,

your insurance carrier, or anyone else to your knowledge concerning in any way the facts and

circumstances of the incident which is the subject matter of this litigation, listing for each statement

the date of same and to whom the statement; was given.

                                                   9.

       Identify .the individual or individuals known to Defendant(s) who. possess or purport to

possess knowledge regarding Plaintiff's claim(s) including, specifying the individual(s) who spoke

to or heard from Plaintiff at any time, and/or investigated the subject incident in any way.

                                                  10.

       Identify all persons Defendant(s) expects to call as an expert witness at the trial of this case,

and for each such individual so identified provide that information required pursuant to O.C.G.A.

§ 9-I1-26(b)(4)(A)(i).

                                                  11.


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       State in detail how Defendant(s) contend the incident which forms the basis for Plaintiffls

claims occurred, including but not limited to a listing of each person and circumstance

Defendant(s) believe to have caused, or contributed to causing, the subject occurrence.

                                                 12.

       List each act of negligence, contributory, comparative or otherwise, you contend Plaintiff,

or any other person or entity did or failed to do which contributed in any way to the incident upon

which Plaintiffls claims are based and/or Plaintiff's resulting injuries.

                                                 13.

       Identify all training that a Defendant(s)'s employees or agents received with respect to

inspecting and maintaining the common areas, generally, and/or the defective sidewalk,

specifically, at the Property, on or before September 1, 2020.

                                                 14.

       Identify any changes in procedures, policies, practices, rules or regulations regarding, or

physical aspects of, the Property, that were implemented regarding or made at the Property as a

result of the September 1, 2020,incident which caused Plaintiff's injuries.

                                                 15.

       Pursuant to O.C.G.A. § 9-11-26(b)(2), identify all insurance agreements, including any

umbrella and/or excess coverage, upon which Defendant(s) may rely to satisfy part or all of any

judgment which may be entered against Defendant(s) or which may be used to indemnify or

reimburse Defendant(s) for any payment(s) to satisfy any such judgment(s).

                                                 16.

       Identify all security or surveillance cameras located at the Property, the location of such

cameras, whether such cameras were operative on September 1, 2020, and whether any camera

videotaped the incident described in the Complaint.


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                                                17.

       Do Defendant(s) contend any person or entity other than Defendant(s) or their employees

or agents is, or may be, liable in whole or in part for the claims asserted against Defendant(s) in

this lawsuit? If your answer is anything other than an unqualified "no", state the full name and

address of each such person or entity, the legal basis for Defendant(s)'s contention, the facts or

evidence upon which said contention is based, and whether Defendant(s) has/have notified each

such person or entity of said contention.

                                                18.

       Describe what steps or procedures Defendant(s) used to warn licensees such as Plaintiff of

the risk of injury from using the defective sidewalk on the Property.

                                                19.

       Furnish a detailed factual basis for each defense and/or counterclaim asserted in

Defendant(s)'s Answer to the Complaint.

                                                20.

       For each paragraph of the Complaint or portion thereof denied by Defendant(s), state in

detail all facts upon which Defendant(s) relied in making said denial.

                                                21.

       Identify all members of, and documents generated by, Defendant(s)'s Safety Team,

Safety Loss Prevention Committee, Risk Control and Safety Committee and/or Accident Review

Board, or Defendant(s)'s equivalents thereto, with respect to the subject incident.

                                                22.




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       Identify all claims or lawsuits that have previously been brought against Defendant(s) as a

result of injuries or damages alleged to have been sustained as a result of residents or invitees

allegedly injuring themselves at the Property from September 1, 2020, or that date the Property

was opened if after September 1, 2020, to the present.

                                                  23.

       Identify all documents or other evidence relating to any complaint regarding alleged

hazards and/or personal injuries sustained at the Property prior to September 1, 2020.

                                                  24.

       Did Defendant(s), their agents, representatives, employees or anyone acting on

Defendant(s)'s behalf conduct an investigation of the subject incident? If the answer is anything

other than an unqualified "no", identify all agents, representatives, employees or anyone acting on

Defendant(s)' behalf who conducted or participated in any portion of the inspection and state

whether any written report or summary was generated.

                                                   25.

       Identify all procedures, policies, practices, requirements, rules or regulations with respect

to inspection, maintenance and/or repair of any aspect of the Property which were in effect on

September 1, 2020.

                                                   26.

       With respect to any procedure, policy, practice, requirement, rule or regulation identified

in Defendant(s)'s answer to the preceding interrogatory, state whether any such procedure, policy,

practice, requirement, rule or regulation was based upon, or otherwise took into account, any

federal, state, county, city or local statute, regulation or law.

                                                   27.




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       State when Defendant first anticipated the possibility of a claim or lawsuit being asserted

or filed by Plaintiff, or otherwise on behalf of Plaintiff, arising out of the subject incident.

                                                  28.

       Describe in detail how the incident, which is the subject of this Complaint, took place.

                                                  29.

       Do you contend that you were not at fault for causing or failing to prevent the subject

incident?

                                                  ul
       If your response to the preceding interrogatory was in the affirmative, identify all facts in

support of your contention.

                                                  31.

       If you claim that you have not been properly served in this action, please state in detail the

facts in support of said claim.

                                                  32.

       Identify all facts and records that would support any contention that Plaintiff's injuries

preexisted the subject incident or were not caused by the subject incident or that symptoms had

been exaggerated or that treatment was unnecessary or charges improper.



                     REQUEST FOR PRODUCTION OF DOCUMENTS

                                                   l.

       Please provide any document or thing that was used or referenced in responding to the

Interrogatories listed above.



                                                   2.


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       Please provide copies of any reports that were done in connection with this incident,

including the incident report done at the Pro,perty.

                                                  3.

       Please provide originals or color copies of all photographs of the Property where the

incident occurred on September 1, 2020, including, but not limited to, all photographs taken of any

person, place or thing involved in the incident, and any photographs of any defective sidewalk(s)

or the surrounding area.

                                                  4.

       Please provide copies of any statements obtained from Plaintiff.

                                                  5.

       Please provide copies of any statements obtained from any witnesses to the incident,

including, but not limited to, statements from any of your employees or agents regarding the

incident:

                                                  W

       Please provide copies of any video surveillance that was recorded one hour prior to the

incident through one hour after the incident.

                                                  7.

       Please produce copies of all training or safety manuals in effect at the Property at the time

of the subject incident, or in effect at any time during the five (5) years prior to the incident and

through the present.

                                                  8.

       Please produce copies of all documents reflecting inspection, maintenance or of any

common areas of the Property (including, but not limited to, the defective sidewalk(s) from

March 1, 2018 through and including September l, 2020, and reflecting any inspection,


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        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 39 of 92




maintenance or repair of any defective sidewalks(s) at any time in 2020.

                                                 9.

        Please produce copies of all documents in your possession (including, but not limited to,

pleadings and discovery responses) relating to or otherwise referencing any claim or lawsuit

brought against you for personal injuries allegedly sustained at the Property.

                                                10.

        Please produce copies of all documents or other evidence relating to any complaint

regarding alleged hazards and/or personal injuries sustained at the Property prior to September 1,

2020.

                                                11.

        Please produce copies of any and all documents reflecting the employees or agents

working at the Property at any time on the date of the subject incident (including, but not limited

to, work schedules and time sheets).

                                                12.

        Please provide copies of any and all communications between Defendant(s) or their

agents or representatives, and the Plaintiff or anyone purporting to act on her behalf.

                                                13.

        Pursuant to O.C.G.A. § 9-11-34, Plaintiff hereby requests that Defendant(s) produce all

information and documents produced in the above-styled action in response to any and all of

Defendant(s)'s Non-Party Request for Production of Documents.4

                                                14.


        For all experts Defendant(s) may or will call to testify at any trial in this matter, please

produce the following:



                                           Page 15 of 17
      Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 40 of 92




       1) Any and all reports, summaries, notes, calculations and written opinions prepared by
           the expert, including all drafts thereof;
       2) The expert's curriculum vitae;
       3) All correspondence between Defendant(s)'s attorney(s) and the expert, whether by
           mail, fax, email, or any other means;
       4) All correspondence between the expert and any other person/agency relating to the
           subject matter of this lawsuit and/or the expert's work regarding the same;
       5) Any and all materials provided to and/or received from the expert regarding the subject
           matter of this. lawsuit and/or the expert's work regarding the same;
       6) All timesheets, invoices, billing statements and other documentation by whatever
           means of the expert's charges and/or compensation for his/her work on this case;
       7) Any and all retainer agreements, scope(s) of work, or similar documents relating to the
           expert's work regarding this case;
       8) Any other documents or materials prepared by, used by, or relied upon by the expert

           relating to the subject matter of this lawsuit and/or the expert's work regarding the

           same.

                                                 15.

       Please produce copies of any and all insurance policies identified by you in your responses

to Plaintiffs Interrogatories.




                                     [signature page follows]




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     Respectfully submitted, this day 12th of August, 2022.



                                                         THE FRY LAW FIRM


1720 Peachtree Street, NW                                JEFFREY G. JAMES
Suite 500                                                State Bar of Georgia #860891
Atlanta, Georgia 30309                                   GULLIANA GOEHRING
(404) 969-1284                                           State Bar of Georgia No.: 384447
(404) 969-1285 fax                                       Attorneysfor Plaintiffs
ief[@Lthefalawfirm.com
gulliana@the&vlawfirm.com




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                    Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 42 of 92                                           E-FILED IN OFFICE - RJ
                                                                                                                             CLERK OF STATE COURT
                                                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                                                      22-C-04589-S2
                                General Civil and Domestic Relations Case Filing Information Form
                                                                                                                                  8/12/2022 5:03 PM
                                                                                                                             TIANA P. GARNER, CLERK
                                   ❑   Superior or ® State Court of Gwinriett State Court                   County

         For Clerk Use Only                                                                 22-C-04589-S2

         Date Filed                                                    Case Number
                                 MM-DD-Yl(VY

Plaintiff(s)                                                               Defendant(s)
Pelaez, Ola                                                                Bevara, Inc.
Last               First                Middle I.    Suffix   Prefix       Last                 First        Middle 1.   Suffix     Prefix
                                                                           XYZ Corporation 1- 3
Last               First                Middle I:    Suffix   Prefix       Last                 First        Middle I.   Suffix     Prefix
                                                                           Does 1-3, John

Last                First               Middle I.    Suffix   Prefix       Last                 First        Middle I.   Suffix     Prefix
                                                                           MB Real Estate Services, Inc.

Last                First               Middle I.    Suffix   Prefix       Last                 First        Middle I.   Suffix     Prefix


Plaintiff's Attorney Jeffrey Glester James                              State Bar Number 860891                     Self-Represented ❑

                            Check one case type and one sub-type in the same box (if a sub-type applies):

         General Civil Cases
                                                                                  Domestic Relations Cases
          ❑x          Automobile Tort
                                                                                  ❑         Adoption
          ❑           Civil Appeal
                                                                                  ❑         Contempt
          ❑           Contempt/Modification/Other
                                                                                            ❑      Non-payment of child support,
                      Post-Judgment
                                                                                            medical support, or alimony
          ❑           Contract
                                                                                  ❑         Dissolution/Divorce/Separate
          ❑           Garnishment
                                                                                            Maintenance/Alimony
          ❑           General Tort
                                                                                  ❑         Family Violence Petition
          ❑           Habeas Corpus
                                                                                  ❑         Modification
          ❑           Injunction/Mandamus/Other Writ
                                                                                            ❑     Custody/Parenting Time/Visitation
          ❑           Landlord/Tenant
                                                                                  ❑         Paternity/Legitimation
          ❑           Medical Malpractice Tort
                                                                                  ❑         Support — IV-D
          ❑           Product Liability Tort
                                                                                  ❑         Support — Private (non-IV-D)
          ❑           Real Property
                                                                                  ❑         Other pomestic Relations
          ❑           Restraining Petition
          ❑           Other General Civil


❑        Check if the action is related to another action pending,or previously pending in this court involving some or all of
         the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                       Case Number                                      Case Number


❑X       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
         redaction of personal or confidential information in OCGA § 9-11-7.1.

❑        Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                                    Language(s) Required


0        Do you or your client need any disability accommodations? If so, please describe the accommodation request.
          Spanish interpreter



                                                                                                                                      Version 1.1.20
                                                                              E-FILED IN OFFICE - RJ
           Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 43 of 92 CLERK OF STATE COURT
                                                                        GWINNETT COUNTY, GEORGIA
                                                                                  22-C-04589-S2
                                                                              8/12/2022 5:03 PM
                                                                            TIANA P. GARNER, CLERK




                                                                    22-C-04589-S2




15th day of August, 2022                          TIANA P. GARNER
                                                                                                E-FILED IN OFFICE - GH
         Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 44 of 92                      CLERK OF STATE COURT
                                                                                           GWINNETT COUNTY, GEORGIA
                                                                                                     22-C-04589-S2
                                                                                                8/19/2022 12:42 PM
                                                                                               TIANA P. GARNER, CLERK
                     IN THE STATE COURT OF GWINNETT                    COUNTY
                                 STATE OF GEORGIA

 OLAPELAEZ,

 Plaintiffs,                                             CIVIL ACTION
                                                         FILE NO. 22-C-04S89-S2
 v.

 BEV ARA, INC., et al

 Defendant,
                                    AFFIDAVIT OF SERVICE

        COMES NOW, RANDAL GEORGE, before the undersigned officer duly authorized to
administer oaths and states that he is a citizen of the United States, he is over the age of eighteen
(18), he is not a party to the suit, he is not a relative to any party in the suit, he is not a convicted
felon, he is not the attorney for any party in the suit, he has no financial interest in the litigation,
and he is wholly disinterested in the litigation.

       Randal George states that he served BEVARA, INC. on August 15,2022 at 3:41 PM by
serving its registered agent InCorp Services, Inc. at 9040 Roswell Road, Suite 500, Atlanta,
Georgia, 30350 with:

     SUMMONS; COMPLAINT; RULE 5.2 CERTIFICATION OF SERVICE;
PLAINTIFF'S REQUEST FOR ADMISSIONS, FIRST CONTINUING INTERROGATORIES
AND REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT MB REAL
ESTATE SERVICES INC.; PLAINTIFF'S REQUEST FOR ADMISSIONS, FIRST
CONTINUING INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS TO DEFENDANT BEVARA, INC. and GENERAL CIVIL AND DOMESTIC
RELATIONS CASE FILING INFORMATION FORM

I certify under penalty of perjury that the foregoing is true and correct.




                                                        NOTARY~
4164 Indian Trace                                       Sworn to and subscribed before me
Lilburn, GA 30047                                       This August 18, 2022
(404) 840-2822                                          My commission expires: .J.Hly 24,2824
                                                                                     I?-~{S-Z_~   -
                                                                                                  tflf/vc
         Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 45 of 92
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                       IN THE STATE COURT OF GWINNETT COUNTY
                                                                               2021 DEC 21 PH 4: 0 l
                                               STATE OF GEORGIA


IN RE: Permanent Process Servers
Case Number:


 21      c-oea66°3                        ORDER OF APPOINTMENT


The application of the undersigned permanent process server having been read and considered,
said applicant is hereby appointed permanent process server of this court pursuant to O.C.G.A. §
9-11-4(c), from the date of this order up to and including January 4, 2023.


This order allows the applicant .to serve as a process server In Gwinnett County State Court
matters only, on an annual renewable basis.

SO ORDERED this         ~ J s-J.          day of        December        I   2021 •



                    Ca~• Btown(Doc 21, 20211~:0l ESTI

                                               Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name        Randal Lee George
 Address     4164 Indian Trace, SW
             Lilburn, GA 30047
             (404) 840-2822
                                                                                               E-FILED IN OFFICE - GH
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 46 of 92                       CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                    22-C-04589-S2
                                                                                               8/19/2022 12:42 PM
                     IN THE STATE COURT OF GWINNETT                    COUNTY                 TIANA P. GARNER, CLERK

                                 STATE OF GEORGIA

 OLAPELAEZ,

 Plaintiffs,                                             CIVIL ACTION
                                                         FILE NO. 22-C-04S89-S2
 v.

 MB REAL ESTATE SERVICES,               INC., et al

 Defendants,
                                    AFFIDAVIT         OF SERVICE

        COMES NOW, RANDAL GEORGE, before the undersigned officer duly authorized to
administer oaths and states that he is a citizen of the United States, he is over the age of eighteen
(18), he is not a party to the suit, he is not a relative to any party in the suit, he is not a convicted
felon, he is not the attorney for any party in the suit, he has no financial interest in the litigation,
and he is wholly disinterested in the litigation.

       Randal George states that he served MB REAL ESTATE SERVICES, INC. on August
16, 2022 at 11:29 AM by serving its registered agent Corporation Service Company at 2 Sun
Court, Northwest, Suite 400, Norcross, Georgia 30092 with:

     SUMMONS; COMPLAINT; RULE 5.2 CERTIFICATION OF SERVICE;
PLAINTIFF'S REQUEST FOR ADMISSIONS, FIRST CONTINUING INTERROGATORIES
AND REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT MB REAL
ESTATE SERVICES INC.; PLAINTIFF'S REQUEST FOR ADMISSIONS, FIRST
CONTINUING INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS TO DEFENDANT BEVARA, INC. and GENERAL CIVIL AND DOMESTIC
RELATIONS CASE FILING INFORMATION FORM

I certify under penalty of perjury that the foregoing is true and correct.



~:~02~
4164 Indian Trace
                                                        NOTARY      ;IJ;i;
                                                        Sworn to and subscribed before me
Lilburn, GA 30047                                       This August 18, 2022
(404) 840-2822                                          My commission expires: ."kily 24,2024
                                                                                     l~-l~--z._r-
                                                                                                  tflf/vc
         Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 47 of 92
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                       IN THE STATE COURT OF GWINNETT COUNTY
                                                                               2021 DEC 21 PH 4: 0 l
                                               STATE OF GEORGIA


IN RE: Permanent Process Servers
Case Number:


 21      c-oea66°3                        ORDER OF APPOINTMENT


The application of the undersigned permanent process server having been read and considered,
said applicant is hereby appointed permanent process server of this court pursuant to O.C.G.A. §
9-11-4(c), from the date of this order up to and including January 4, 2023.


This order allows the applicant .to serve as a process server In Gwinnett County State Court
matters only, on an annual renewable basis.

SO ORDERED this         ~ J s-J.          day of        December        I   2021 •



                    Ca~• Btown(Doc 21, 20211~:0l ESTI

                                               Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name        Randal Lee George
 Address     4164 Indian Trace, SW
             Lilburn, GA 30047
             (404) 840-2822
                                                                                               E-FILED IN OFFICE - MB
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 48 of 92                       CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                    22-C-04589-S2
                                                                                                9/14/2022 2:06 PM
                     IN THE STATE COURT OF GWINNETT COUNTY                                   TIANA P. GARNER, CLERK


                                     STATE OF GEORGIA

OLA PELAEZ,                                     *
         Plaintiff,                             *
                                                *
vs.                                             *     Civil Action No. 22-C-04589-S2
                                                *
BEVARA, INC., MB REAL ESTATE                    *
SERVICES, INC. JOHN DOES 1-3, and               *
XYZ CORP 1-3,                                   *
           Defendants.                          *

                         ANSWER OF DEFENDANT BEVARA, INC.

       COMES NOW Bevara, Inc., Defendant in the above styled civil action and answers and
responds to the Plaintiff’s Complaint for Damages, and for Answer, shows the Court as follows:
                                        FIRST DEFENSE
       Plaintiff's Complaint fails to state a cause of action against this Defendant upon which
relief can be granted.
                                      SECOND DEFENSE
       No act or omission of this Defendant either proximately caused or contributed to all
damage the Plaintiff may have sustained, and on account thereof, Plaintiff is not entitled to recover
any sum of this Defendant.
                                        THIRD DEFENSE
       The occurrence complained of was caused, produced or brought about directly and
proximately by the negligence of the Plaintiff and/or some other person or persons for whom this
Defendant was not responsible and, on account thereof, Plaintiff is not entitled to recover any sum
of this Defendant.
                                      FOURTH DEFENSE
       Plaintiff, by the exercise of ordinary care, could have avoided being injured and damaged,
and on account thereof, Plaintiff is not entitled to recover any sum of this Defendant.
                                        FIFTH DEFENSE
       The negligence of Plaintiff equaled or preponderated over any act or omission of this
Defendant in producing and bringing about the occurrence complained of, and on account thereof,
Plaintiff is not entitled to recover any sum of this Defendant.
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 49 of 92


                                      SIXTH DEFENSE

       Further answering the numbered paragraphs of Plaintiff’s Complaint, Defendant answers
as follows:
                                               1.
       This Defendant does not possess sufficient information to form a belief as to the truth of
the allegations contained in paragraph 1 of Plaintiff’s Complaint and can therefore neither admit
nor deny same.
                                               2.
       This Defendant admits the allegations contained in paragraph 2 of Plaintiff’s Complaint.
                                               3.
       This Defendant does not possess sufficient information to form a belief as to the truth of
the allegations contained in paragraph 3 of Plaintiff’s Complaint and can therefore neither admit
nor deny same.
                                               4.
       This Defendant does not possess sufficient information to form a belief as to the truth of
the allegations contained in paragraph 4 of Plaintiff’s Complaint and can therefore neither admit
nor deny same.
                                               5.
       This Defendant does not possess sufficient information to form a belief as to the truth of
the allegations contained in paragraph 5 of Plaintiff’s Complaint and can therefore neither admit
nor deny same.
                                               6.
       This Defendant does not possess sufficient information to form a belief as to the truth of
the allegations contained in paragraph 6 of Plaintiff’s Complaint and can therefore neither admit
nor deny same.
                                               7.
       This Defendant denies the allegations contained in paragraph 7 of Plaintiff’s Complaint.
                                               8.
       This Defendant denies the allegations contained in paragraph 8 of Plaintiff’s Complaint.
                                               9.
       This Defendant denies the allegations contained in paragraph 9 of Plaintiff’s Complaint.
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 50 of 92


                                                  10.
        This Defendant does not possess sufficient information to form a belief as to the truth of
the allegations contained in paragraph 10 of Plaintiff’s Complaint and can neither admit nor deny
same and therefore said allegations stand denied.
                                                  11.
        This Defendant denies the allegations contained in paragraph 11 of Plaintiff’s Complaint.
                                                  12.
        This Defendant denies the allegations contained in paragraph 12 of Plaintiff’s Complaint.
                                                  13.
        This Defendant denies the allegations contained in paragraph 13 of Plaintiff’s Complaint.
                                                  14.
        This Defendant denies the allegations contained in paragraph 14 of Plaintiff’s Complaint.
                                                  15.
        This Defendant denies the allegations contained in paragraph 15 of Plaintiff’s Complaint.
                                                  16.
        This Defendant denies the allegations contained in paragraph 16 of Plaintiff’s Complaint.
                                                  17.
        This Defendant denies the allegations contained in paragraph 17 of Plaintiff’s Complaint.
                                                  18.
        This Defendant denies the allegations contained in paragraph 18 of Plaintiff’s Complaint.
                                          LAST DEFENSE
        Any allegation contained in the Plaintiff’s Complaint, which has not herein expressly been
admitted, is hereby denied.


        WHEREFORE, Defendant having fully answered the Plaintiff's Complaint prays that he
hence be discharged of the Plaintiff's Complaint on all the aforesaid defenses, and that judgment
be entered in favor of this Defendant and against the Plaintiff, with all costs cast upon the Plaintiff.



        This 14th day of September, 2022.
     Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 51 of 92


                                     FAIN MAJOR & BRENNAN, P.C.

One Premier Plaza                    /s/ James W. Hardee
5605 Glenridge Drive, NE             JAMES W. HARDEE
Suite 900                            Georgia Bar No. 324399
Atlanta, GA 30342-1445               SARAH H. WILLIAMSON
(404) 688-6633                       Georgia Bar No. 421096
jhardee@fainmajor.com                Counsel for Bevara, Inc.
swilliamson@fainmajor.com
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 52 of 92


                   IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

OLA PELAEZ,                                    *
         Plaintiff,                            *
                                               *
vs.                                            *     Civil Action No. 22-C-04589-S2
                                               *
BEVARA, INC., MB REAL ESTATE                   *
SERVICES, INC. JOHN DOES 1-3, and              *
XYZ CORP 1-3,                                  *
           Defendants.                         *

                                CERTIFICATE OF SERVICE

       This is to certify that I have this date served upon counsel for the opposing parties in the
foregoing matter a copy of the Answer of Bevara, Inc. electronically via Odyssey eFileGA, via
statutory electronic service, or by placing same in the United States Mail, postage prepaid,
addressed as follows:

                                        Jeffrey G. James
                                       Gulliana Goehring
                                    THE FRY LAW FIRM
                               1720 Peachtree St. NW, Suite 500
                                      Atlanta, GA 30309
                                   jeff@thefrylawfirm.com
                                 gulliana@thefrylawfirm.com


       This 14th day of September, 2022.


                                                   FAIN MAJOR & BRENNAN, P.C.

 One Premier Plaza                                 /s/ James W. Hardee
 5605 Glenridge Drive, NE                          JAMES W. HARDEE
 Suite 900                                         Georgia Bar No. 324399
 Atlanta, GA 30342-1445                            SARAH H. WILLIAMSON
 (404) 688-6633                                    Georgia Bar No. 421096
 jhardee@fainmajor.com                             Counsel for Bevara, Inc.
 swilliamson@fainmajor.com
                                                                                        E-FILED IN OFFICE - MB
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 53 of 92               CLERK OF STATE COURT
                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                             22-C-04589-S2
                                                                                         9/14/2022 2:06 PM
                     IN THE STATE COURT OF GWINNETT COUNTY                            TIANA P. GARNER, CLERK


                                   STATE OF GEORGIA

OLA PELAEZ,                                 *
         Plaintiff,                         *
                                            *
vs.                                         *     Civil Action No. 22-C-04589-S2
                                            *
BEVARA, INC., MB REAL ESTATE                *
SERVICES, INC. JOHN DOES 1-3, and           *
XYZ CORP 1-3,                               *
           Defendants.                      *

                                 DEMAND FOR JURY TRIAL
        COMES NOW Defendant Bevara, Inc., and herewith files its Demand for Twelve-Person
Jury on all issues so triable.




        This 14th day of September, 2022.




                                                FAIN MAJOR & BRENNAN, P.C.

 One Premier Plaza                              /s/ James W. Hardee
 5605 Glenridge Drive, NE                       JAMES W. HARDEE
 Suite 900                                      Georgia Bar No. 324399
 Atlanta, GA 30342-1445                         SARAH H. WILLIAMSON
 (404) 688-6633                                 Georgia Bar No. 421096
 jhardee@fainmajor.com                          Counsel for Bevara, Inc.
 swilliamson@fainmajor.com
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 54 of 92


                   IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

OLA PELAEZ,                                    *
         Plaintiff,                            *
                                               *
vs.                                            *     Civil Action No. 22-C-04589-S2
                                               *
BEVARA, INC., MB REAL ESTATE                   *
SERVICES, INC. JOHN DOES 1-3, and              *
XYZ CORP 1-3,                                  *
           Defendants.                         *

                                 CERTIFICATE OF SERVICE

       This is to certify that I have this date served upon counsel for the opposing parties in the
foregoing matter a copy of the Demand for Twelve Person Jury electronically via Odyssey
eFileGA, via statutory electronic service, or by placing same in the United States Mail, postage
prepaid, addressed as follows:

                                          Jeffrey G. James
                                         Gulliana Goehring
                                      THE FRY LAW FIRM
                                 1720 Peachtree St. NW, Suite 500
                                        Atlanta, GA 30309
                                     jeff@thefrylawfirm.com
                                   gulliana@thefrylawfirm.com


       This 14th day of September, 2022.



                                                   FAIN MAJOR & BRENNAN, P.C.

 One Premier Plaza                                 /s/ James W. Hardee
 5605 Glenridge Drive, NE                          JAMES W. HARDEE
 Suite 900                                         Georgia Bar No. 324399
 Atlanta, GA 30342-1445                            SARAH H. WILLIAMSON
 (404) 688-6633                                    Georgia Bar No. 421096
 jhardee@fainmajor.com                             Counsel for Bevara, Inc.
 swilliamson@fainmajor.com
                                                                                                                                  E-FILED IN OFFICE - MB
            Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 55 of 92                                                     CLERK OF STATE COURT
                                                                                                                             GWINNETT COUNTY, GEORGIA
                                                                                                                                           22-C-04589-S2
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                                                                LAW OFFICES                                                         TIANA P. GARNER, CLERK

                                     FAIN, MAJOR & BRENNAN, P.C.
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                                                                (4 0 4) 68 8 -6 63 3


J AMES W. HARDEE                                                                                                   FACS IMILE
                                                                                                                 (404) 420-1544
ALS O ADMITTED IN FLORIDA
                                                                                                                        E-MAIL
                                                                                                            jh a rd e e @fa in m a jo r.co m


TO:                         All Judges, Clerks of Court and Counsel of Record

FROM:                       James W. Hardee

RE:                         Notice of Leave of Absence

DATE:                       September 14, 2022

            COMES NOW, James W. Hardee, and respectfully notifies all Judges before whom he has

cases pending, all affecting Clerks of Court, and all opposing counsel, that he will be on leave

pursuant to Georgia Uniform Court Rule 16.

            1.      The periods of leave during which time Applicant will be away from the practice of

law are: November 3-14, 2022; and December 19, 2022 – January 3, 2023.

            2.       All affected Judges and opposing counsel shall have ten (10) days from the date of

this Notice to object to it. If no objections are filed, the leave shall be granted.

                                                                     Respectfully submitted,

                                                                     FAIN, MAJOR & BRENNAN, P.C.




                                                                     ________________________________________
                                                                     JAMES W. HARDEE
One Premier Plaza                                                    Georgia Bar No. 324399
5605 Glenridge Dr. N.E., Suite 900
Atlanta, GA 30342
(404) 688-6633
jhardee@fainmajor.com
                 Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 56 of 92


                                            EXHIBIT “A”

CASE STYLE                            PRESIDING JUDGE                  OPPOSING COUNSEL


Ola Pelaez v Bevara, Inc. MB Real     Honorable Shawn F. Bratton       Jeffrey G. James
Estate Services, Inc., John Does 1-   State Court of Gwinnett County   Gulliana Goehring
3 and XYZ Corp 1-3                    P.O. Box 880                     THE FRY LAW FIRM
                                      Lawrenceville, GA 30046          1720 Peachtree St. NW, Suite 500
                                                                       Atlanta, GA 30309
State Court of Gwinnett County                                         jeff@thefrylawfirm.com
Civil Action No.: 22-C-04589-S2                                        gulliana@thefrylawfirm.com
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 57 of 92


                                 CERTIFICATE OF SERVICE

       This is to certify that I have this date served upon counsel for the opposing parties, the

Clerks of Court and all presiding Judges in the foregoing matters a copy of the foregoing Notice

of Leave of Absence electronically via Odyssey eFileGA or by placing same in the United States

Mail, postage prepaid.

       This 14th day of September, 2022.

                                            FAIN, MAJOR & BRENNAN, P.C.


                                            _/s/ James W. Hardee ________________________
                                            JAMES W. HARDEE
                                            Georgia Bar No. 324399
One Premier Plaza
5605 Glenridge Dr. N.E.
Suite 900
Atlanta, GA 30342
(404) 688-6633
jhardee@fainmajor.com
                                                                                                E-FILED IN OFFICE - MB
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 58 of 92                       CLERK OF STATE COURT
                                                                                           GWINNETT COUNTY, GEORGIA
                                                                                                     22-C-04589-S2
                                                                                                 9/14/2022 2:06 PM
                                                                                              TIANA P. GARNER, CLERK

                      IN THE STATE COURT OF GWINNETT COUNTY
                                      STATE OF GEORGIA

OLA PELAEZ,                                      *
         Plaintiff,                              *
                                                 *
vs.                                              *     Civil Action No. 22-C-04589-S2
                                                 *
BEVARA, INC., MB REAL ESTATE                     *
SERVICES, INC. JOHN DOES 1-3, and                *
XYZ CORP 1-3,                                    *
           Defendants.                           *

              DEFENDANT'S FIRST INTERROGATORIES TO PLAINTIFF
       Pursuant to O.C.G.A. § 9-11-33, you are hereby required to answer the following
Interrogatories, separately and fully in writing under oath, within thirty (30) days of service
thereof.
       You are under a duty reasonably to supplement your response to any questions directly
addressed to the identity and/or location of a person having knowledge of discoverable matters
and the identity of each person expected to be called as an expert witness at trial, the subject matter
of which each is expected to testify, and the substance of each one's testimony.
       In answering the following interrogatories, you are requested to give full and complete
answers based upon your personal knowledge as well as that of agents, employees, investigators
or attorneys who may have obtained information in your behalf.
                                                1.
       Please state your full name, current address, date of birth and social security number.
                                                2.
       If you are married, please state your spouse's full name, the length of your marriage,
whether you have previously been married, and whether you have any children. In the event you
have previously been married, please state the full name of your former spouse(s) and the reason
for the termination of each previous marriage. If you have any children, please state their full
name(s) and age(s).
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 59 of 92




                                                3.
        In the event you have been charged with a criminal offense, please state the nature of each
offense, the date charged, the disposition of the charge, the date of disposition and the court or
courts in which the disposition of such charge or charges took place.
                                                4.
        If you were ever a plaintiff or a defendant in a lawsuit of any kind prior to or subsequent
to this litigation, please provide details as to that prior lawsuit, including the names of the parties,
the court in which the action was filed, the year the action was filed, and the allegations made in
the lawsuit.
                                                5.
        If you have ever made any other claim for bodily injuries of any kind, against any person,
firm or corporation (including any insurance company), please state the nature and date of each
such claim, the name of the person, firm or corporation against whom the claim was made, and the
outcome of such claim.
                                                6.
        If, prior to or subsequent to the incident complained of, you have ever suffered from a
similar injury or medical condition, please fully describe such injury stating when and where such
injury was sustained and whether a claim for personal injury was made by you and, if so, against
whom such claim was made.
                                                7.
        If, prior to or subsequent to the incident complained of, you have suffered from any bodily
injury or medical condition, please fully describe such injury, stating when and where such injury
was sustained and whether a claim for personal injury was made by you and, if so, against whom
such claim was made.
                                                8.
        As to any medical or other healthcare attention you have received within the twenty (20)
years preceding the incident complained of in your Complaint, please state the name and address
of each and every physician, surgeon or practitioner of any healing art who has treated you, the
date of each visit to said physician, surgeon or practitioner of any healing art or, if such date is not
known, the date of the first visit and the approximate number of subsequent visits for related
injuries or illnesses, and the reason for such examination or treatment.
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 60 of 92




                                                 9.
       As to any medical or other healthcare treatment that you have received for any injuries for
which recovery is sought in the within lawsuit, please state the name and address of each and every
physician, surgeon or practitioner of any healing art who has treated you, the dates of treatment
with said physician, surgeon or practitioner of any healing art and the approximate number of visits
for related injuries or illnesses, and the reason for such examination or treatment.
                                              10.
       If you have been hospitalized at any time prior to the incident complained of, please state
the name and address of each hospital, the date(s) of any treatment received in said hospital, the
nature of the treatment rendered in each such hospital and the name and address of your attending
physician.
                                              11.
       If you have been hospitalized at any time subsequent to the incident complained of, please
state the name and address of each hospital, the date(s) of any treatment received in said hospital,
the nature of the treatment rendered in each such hospital and the name and address of your
attending physician.
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 61 of 92


                                             12.
        If, to your knowledge, information or belief any of the physicians, surgeons, practitioners
of any healing art or hospitals referred to above, made any reports, statements or bills concerning
your medical condition, please describe each such report, statement or bill, giving as to each the
title or description thereof, and the date and name of the person making such report, statement or
bill.
                                             13.
        Please state in detail your activities during the twenty-four (24) hour period immediately
preceding the incident complained of in this action.
                                             14.
        Please state whether you consumed any alcohol, or any prescription or nonprescription
medications or drugs during the twenty-four (24) hour period immediately preceding the incident
complained of in this action.


                                             15.
        Please state the date, approximate time and exact location of the incident complained of in
your Complaint occurred.
                                             16.
        Please diagram by drawing or words the exact location of the occurrence of the incident
complained of in this action.
                                             17.
        Please describe in detail what you were doing at the time of the occurrence of the incident
complained of in this action.
                                                18.
        Please state in detail how you contend the incident complained of in this action occurred.
                                             19.
        Please describe in detail every act or omission on the part of this Defendant which you
contend caused, contributed to or brought about the incident complained of in your Complaint.
                                             20.
        State the name, address and employer of any person, including any party who, to your
knowledge, information or belief was an eyewitness to the incident complained of in this action,
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 62 of 92


has some knowledge of any fact or circumstance upon which your allegations of negligence,
causation and damages are based, and your relationship to any such person.
                                               21.
        Please describe each and every statement or report which to your knowledge, information
or belief has been made by any person named in answer to the preceding interrogatory, giving as
to each the date, the subject matter, the parties present when made and the form (whether oral,
written, recorded, etc.).
                                               22.
        If there are any photographs, drawings or other graphic representations of the scene of the
incident complained of in this action, any instrumentality alleged to have caused the alleged
damages, or of your alleged injury, please fully describe each such photograph, drawing or graphic
representation, giving as to each the date and by whom it was made, the subject matter represented
and the form (whether photographic print, transparency, diagram, plat, etc.).
                                               23.
        Please fully describe each and every documentary or other tangible evidence which you
contend supports your allegations of negligence, causation or damage, stating as to each item the
nature, form and the subject or contents, and the name and address of the person having custody
of each such item.
                                               24.
        List each and every element of damages you contend you are entitled to recover.
                                               25.
        Itemize all expenses and special damages which you claim resulted from the incident
complained of, including, but not limited to, medical and hospital expenses and loss of earnings.
                                               26.
        If you received any injuries as a result of the incident which is the subject matter of the
above-captioned lawsuit, please describe fully each injury and state when you first became aware
of the injury, indicating the date and hour.
                                               27.
        State the name and address of every physician, surgeon, or practitioner of any healing art
who has examined or treated you (or who has been consulted with by you or your attorney), for
any complaint which you contend resulted from the incident complained of in your Complaint,
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 63 of 92


stating the date of your first and last visit to each such person and the approximate total number of
visits to each such person.
                                               28.
       State the name and address of your employer(s), if any, on the date of the incident
complained of, the length of your employment with said employer(s), your total salary,
commissions or other compensation, the services and duties you were required to perform, and the
place(s) where you worked or performed those services and duties.
                                               29.
       If you have missed any work as a result of injuries received in this incident, please state
the date(s) you were absent, the total number of hours lost and the total compensation received for
same from any source whatsoever.


                                               30.
       If there is any activity which you could engage in before the incident complained of, but
which as a result of the injuries received in the incident you cannot engage in now, please give a
description of the activity and in what way you are now restricted from participating in same and
state whether you will be able to engage in the activity in the future, and, if so, when.
                                               31.
       Please state whether you are eligible to receive or have received any benefits or payments
from any collateral sources reimbursing you in full or in part for any medical, hospital, or other
expense or loss including loss of wages incurred as a result of the incident complained of in your
Complaint including, but not limited to, workers' compensation or other benefits, whether paid by
an insurance company, voluntarily paid by your employer, or others, giving full details as to each
such benefit, including the name and address of the person, organization, governmental agency or
insurance company making or responsible for each such payment, the policy and claim number of
any insurance company involved, the aggregate limits of coverage, the total amount paid or
payable, the weeks for which any lost income payment has been made or is payable, and the State
claim number of any applicable workers' compensation claim; the cost to you for receiving such
benefits and the extent to which such benefits will apply to any future special damages (e.g. the
limits of any applicable insurance policies, the availability of workers' compensation benefits in
the future, any applicable wage continuation plans, etc.).
        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 64 of 92


                                               32.
       Are you required to repay any of the benefits referred to above or do any of the providers
of such benefits claim a right of subrogation? If so, please explain in detail.
                                               33.
       State the name, address and telephone number of each and every expert whom you expect
to call as a witness at the trial of the case and with regard to such witness state the subject matter
and substance of the facts and opinions upon which the expert is expected to testify, and a summary
of the grounds for each opinion.




                                               34.
       State the name, address and telephone number of each and every expert whom you or your
attorney have employed as an expert in the case and whom you do not expect to call as a witness
and state with regard to each expert the facts and opinions held by such expert.
                                                 35.
       At the time of the subject incident or at any point subsequent to this incident, were you
eligible to receive Medicare or Medicaid benefits and, if so, please state:
       (a)     Whether Medicare or Medicaid has paid any such benefits to you or on your behalf;
       (b)     Whether Medicare or Medicaid has informed you that they are seeking subrogation
or any other type of reimbursement benefits paid to you or on your behalf;
       (c)     Whether you have made any agreements with Medicare or Medicaid to repay any
such amounts sought by Medicare or Medicaid;
       (d)     Your Medicare health insurer number, if available; and
       (e)     The name, address, and tax payer identification number of all Plaintiff’s attorneys
affiliated with your representation in this matter.


       This 14th day of September, 2022.
     Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 65 of 92


                                     FAIN MAJOR & BRENNAN, P.C.

One Premier Plaza                    /s/ James W. Hardee
5605 Glenridge Drive, NE             JAMES W. HARDEE
Suite 900                            Georgia Bar No. 324399
Atlanta, GA 30342-1445               SARAH H. WILLIAMSON
(404) 688-6633                       Georgia Bar No. 421096
jhardee@fainmajor.com                Counsel for Bevara, Inc.
swilliamson@fainmajor.com
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 66 of 92




                   IN THE STATE COURT OF GWINNETT COUNTY
                              STATE OF GEORGIA

OLA PELAEZ,                                    *
         Plaintiff,                            *
                                               *
vs.                                            *     Civil Action No. 22-C-04589-S2
                                               *
BEVARA, INC., MB REAL ESTATE                   *
SERVICES, INC. JOHN DOES 1-3, and              *
XYZ CORP 1-3,                                  *
           Defendants.                         *

                                CERTIFICATE OF SERVICE

       This is to certify that I have this date served upon counsel for the opposing parties in the
foregoing matter a copy of the Defendant’s First Interrogatories to Plaintiff electronically via
Odyssey eFileGA, via statutory electronic service, or by placing same in the United States Mail,
postage prepaid, addressed as follows:
                                        Jeffrey G. James
                                       Gulliana Goehring
                                    THE FRY LAW FIRM
                               1720 Peachtree St. NW, Suite 500
                                      Atlanta, GA 30309
                                   jeff@thefrylawfirm.com
                                 gulliana@thefrylawfirm.com


       This 14th day of September, 2022.
                                                   FAIN MAJOR & BRENNAN, P.C.

 One Premier Plaza                                 /s/ James W. Hardee
 5605 Glenridge Drive, NE                          JAMES W. HARDEE
 Suite 900                                         Georgia Bar No. 324399
 Atlanta, GA 30342-1445                            SARAH H. WILLIAMSON
 (404) 688-6633                                    Georgia Bar No. 421096
 jhardee@fainmajor.com                             Counsel for Bevara, Inc.
 swilliamson@fainmajor.com
                                                                                            E-FILED IN OFFICE - MB
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 67 of 92                    CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                 22-C-04589-S2
                                                                                             9/14/2022 2:06 PM
                       IN THE STATE COURT OF GWINNETT COUNTY                              TIANA P. GARNER, CLERK


                                     STATE OF GEORGIA

OLA PELAEZ,                                     *
         Plaintiff,                             *
                                                *
vs.                                             *     Civil Action No. 22-C-04589-S2
                                                *
BEVARA, INC., MB REAL ESTATE                    *
SERVICES, INC. JOHN DOES 1-3, and               *
XYZ CORP 1-3,                                   *
           Defendants.                          *

                           DEFENDANT'S FIRST REQUEST FOR
                       PRODUCTION OF DOCUMENTS TO PLAINTIFF
       COMES NOW Defendant and files this Request for Production of Documents pursuant to
O.C.G.A. § 9-11-34(a), and requires Plaintiff to comply with said Code Section as follows by
producing and permitting counsel for Defendant to inspect and copy each of the following
documents:
                                              1.
       Please produce each and every statement, report or writing of any kind prepared by any
individual(s) who was an eyewitness to the incident complained of in this action.
                                              2.
       Please produce each and every statement, report or writing of any kind prepared by any
individual(s) who has some knowledge of any fact or circumstance upon which your allegations
of negligence, causation and/or damages are based.
                                              3.
       Please produce each and every photograph, drawing, diagram, map or graphic
representation of the scene of the incident complained of in this action.
                                              4.
       Please produce each and every photograph, drawing, diagram, or graphic representation of
any instrumentality alleged to have caused the alleged damages.
                                              5.
       Please produce each and every photograph, drawing, diagram, or graphic representation of
your alleged injury.
          Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 68 of 92


                                                6.
          Please produce each and every documentary or other tangible evidence which you contend
supports your allegations of negligence, causation and/or damages.
                                                7.
          Please produce any and all hospitalization records and reports, including billing statements
of any kind, in your possession from any hospitalizations or hospital visits occurring at any time
prior or subsequent to the subject incident underlying the Complaint in this matter.
                                                8.
          Please produce any and all medical records and reports, including billing statements of any
kind, from each and every hospital, physician, surgeon or practitioner of the healing art, generated
or prepared as a result of any type of treatment rendered to you allegedly as a result of the subject
incident underlying the Complaint in this matter.
                                                9.
          If you claim loss of any wages or income, please produce all of your federal income tax
returns for the five (5) years immediately preceding the date of your response to this Request.
                                                10.
          Please produce a true and complete copy of any and all written reports rendered to you
from each and every expert witness, including treating physicians, who are expected to testify in
any respect at trial concerning your allegations of negligence, causation and/or damages in this
matter.
                                                11.
          Please produce a complete and true copy of any and all written reports rendered to you by
each and every expert witness, including treating physicians, in any manner consulted by you with
respect to your allegations of negligence, causation and/or damages in this matter, whether or not
such expert witness(es) is expected to testify at trial.
                                                     12.
          Produce any and all documents, including but not limited to, correspondence to and from
Medicare and/or Centers for Medicare and Medicaid Services (CMS) and/or Medicare Secondary
Payer Recovery Contractor (MSPRC) which in any way reference your request for benefits, your
receipt of benefits, and/or your denial of benefits at any time, including benefits made in relation
to injuries allegedly sustained as a result of the subject incident.
     Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 69 of 92




     This 14th day of September, 2022.




                                         FAIN MAJOR & BRENNAN, P.C.

One Premier Plaza                        /s/ James W. Hardee
5605 Glenridge Drive, NE                 JAMES W. HARDEE
Suite 900                                Georgia Bar No. 324399
Atlanta, GA 30342-1445                   SARAH H. WILLIAMSON
(404) 688-6633                           Georgia Bar No. 421096
jhardee@fainmajor.com                    Counsel for Bevara, Inc.
swilliamson@fainmajor.com
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 70 of 92


                    IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

OLA PELAEZ,                                    *
         Plaintiff,                            *
                                               *
vs.                                            *     Civil Action No. 22-C-04589-S2
                                               *
BEVARA, INC., MB REAL ESTATE                   *
SERVICES, INC. JOHN DOES 1-3, and              *
XYZ CORP 1-3,                                  *
           Defendants.                         *

                                CERTIFICATE OF SERVICE

       This is to certify that I have this date served upon counsel for the opposing parties in the
foregoing matter a copy of the Defendant’s First Request for Production of Documents to
Plaintiff electronically via Odyssey eFileGA, via statutory electronic service, or by placing same
in the United States Mail, postage prepaid, addressed as follows:

                                        Jeffrey G. James
                                       Gulliana Goehring
                                    THE FRY LAW FIRM
                               1720 Peachtree St. NW, Suite 500
                                      Atlanta, GA 30309
                                   jeff@thefrylawfirm.com
                                 gulliana@thefrylawfirm.com


       This 14th day of September, 2022.


                                                   FAIN MAJOR & BRENNAN, P.C.

 One Premier Plaza                                 /s/ James W. Hardee
 5605 Glenridge Drive, NE                          JAMES W. HARDEE
 Suite 900                                         Georgia Bar No. 324399
 Atlanta, GA 30342-1445                            SARAH H. WILLIAMSON
 (404) 688-6633                                    Georgia Bar No. 421096
 jhardee@fainmajor.com                             Counsel for Bevara, Inc.
 swilliamson@fainmajor.com
                                                                                            E-FILED IN OFFICE - MB
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 71 of 92                    CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                 22-C-04589-S2
                                                                                             9/14/2022 2:06 PM
                   IN THE STATE COURT OF GWINNETT COUNTY                                   TIANA P. GARNER, CLERK


                                    STATE OF GEORGIA

OLA PELAEZ,                                    *
         Plaintiff,                            *
                                               *
vs.                                            *     Civil Action No. 22-C-04589-S2
                                               *
BEVARA, INC., MB REAL ESTATE                   *
SERVICES, INC. JOHN DOES 1-3, and              *
XYZ CORP 1-3,                                  *
           Defendants.                         *

                          RULE 5.2 CERTIFICATE OF SERVICE

       Pursuant to Uniform State Court Rule 5.2, I certify that I have this day served upon counsel
of record in the foregoing matter with a true and correct copy of Defendant Bevara, Inc.’s First
Interrogatories and Request for Production of Documents to Plaintiff and Response to
Plaintiff’s Request for Admissions electronically via Odyssey eFileGA, via statutory electronic
service, or by placing same in the United States mail, with proper postage affixed thereto,
addressed as follows:

                                        Jeffrey G. James
                                       Gulliana Goehring
                                    THE FRY LAW FIRM
                               1720 Peachtree St. NW, Suite 500
                                      Atlanta, GA 30309
                                   jeff@thefrylawfirm.com
                                 gulliana@thefrylawfirm.com

       This 14th day of September, 2022.

                                                   FAIN MAJOR & BRENNAN, P.C.

 One Premier Plaza                                 /s/ James W. Hardee
 5605 Glenridge Drive, NE                          JAMES W. HARDEE
 Suite 900                                         Georgia Bar No. 324399
 Atlanta, GA 30342-1445                            SARAH H. WILLIAMSON
 (404) 688-6633                                    Georgia Bar No. 421096
 jhardee@fainmajor.com                             Counsel for Bevara, Inc.
 swilliamson@fainmajor.com
                                                                                               E-FILED IN OFFICE - RJ
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 72 of 92                      CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                   22-C-04589-S2
                                                                                               8/12/2022 5:03 PM
                                                                                             TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 OLA PELAEZ

                                                      CIVIL ACTION FILE
                                                      NO. ______________
                                     Plaintiff,
                                                           22-C-04589-S2
 vs.
 BEVARA, INC., MB REAL ESTATE
 SERVICES, INC., JOHN DOES 1-3, AND
 XYZ CORPORATION 1-3
                                       Defendants.

                         RULE 5.2 CERTIFICATION OF SERVICE

        This is to certify that pursuant to Uniform Superior Court Rule 5.2, I am causing Plaintiff’s
First Request for Admissions, Continuing Interrogatories and Request for Production of Documents
to Defendant Bevara, Inc. and Plaintiff’s First Request for Admissions, Continuing Interrogatories
and Request for Production of Documents to MB Real Estate Services, Inc. Company to be
personally served on the following parties with the Summons and Complaint:

                 Bevara, Inc.                              MB Real Estate Services, Inc.,
                  Defendant                                           Defendant
   c/o Incorp Services, Inc., registered agent            c/o Corporation Service Company,
              9040 Roswell Road,                                   registered agent
                  Suite 500,                                         2 Sun Court,
            Atlanta, Georgia 30050                                    Suite 400,
                                                          Peachtree Corners, Georgia 30092


       Respectfully submitted this 12th day of August, 2022.


                                                             THE FRY LAW FIRM

                                                             /s/ Jeffrey G. James
1720 Peachtree Street, NW                                    JEFFREY G. JAMES
Suite 500                                                    State Bar of Georgia #860891
Atlanta, Georgia 30309                                       GULLIANA GOEHRING
(404) 969-1284                                               State Bar of Georgia No.: 384447
(404) 969-1285 fax                                           Attorneys for Plaintiffs
jeff@thefrylawfirm.com
gulliana@thefrylawfirm.com



                                                  1
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 73 of 92




                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA


OLA PELAEZ,                                        )
                                                   )
         Plaintiff,                                )
                                                   )
v.                                                 ) CIVIL ACTION
                                                   ) FILE NO.: 22-C-04589-S2
BEVARA, INC., MB REAL ESTATE                       )
SERVICES, INC., JOHN DOES 1-3, AND                 )
XYZ CORPORATION 1-3                                )
                                                   )
      Defendants.                                  )
_____________________________________              )

                      DEFENDANT MB REAL ESTATE SERVICES, INC.’S
                         ANSWER AND AFFIRMATIVE DEFENSES

       COMES NOW, MB Real Estate Services, Inc. (“Defendant” or “MB”) Defendant in the

above-styled action, and files this its Answer and Affirmative Defenses respectfully showing the

Court as follows:

                             FIRST AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint should be dismissed because it fails to state a claim upon which

relief can be granted.

                           SECOND AFFIRMATIVE DEFENSE

       Defendant MB is not liable to Plaintiff because Defendant MB breached no duties owed

to Plaintiff with regard to the alleged incident giving rise to this Complaint.

                              THIRD AFFIRMATIVE DEFENSE

       Defendant MB is not liable to Plaintiff with regard to the subject alleged incident

because, at all times pertinent to the Complaint, Defendant MB exercised due care under the

circumstances and was not negligent.
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 74 of 92




                            FOURTH AFFIRMATIVE DEFENSE

       The injuries and damages alleged by Plaintiff in her Complaint were not proximately

caused by any negligence on the part of Defendant MB, nor were such injuries and damages

proximately caused by any entity or person for whose actions Defendant MB is legally liable.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiff cannot recover from Defendant MB in this action because Plaintiff, through the

exercise of ordinary care, could have avoided the consequences of any alleged act, or alleged

failure to act, by Defendant MB or Defendant MB’s agents.

                             SIXTH AFFIRMATIVE DEFENSE

       Plaintiff cannot recover from Defendant MB in this action because Plaintiff had equal or

greater knowledge of the hazard which allegedly contributed to her alleged injuries and damages.

                           SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff cannot recover from Defendant MB in this action because Plaintiff assumed all

risks associated with her alleged injuries and damages.

                          EIGHTH AFFIRMATIVE DEFENSE

       The medical expenses alleged as damages in Plaintiff’s Complaint include expenses

which are neither reasonable, necessary, nor related.

                           NINTH AFFIRMATIVE DEFENSE

       Defendant MB is not indebted to Plaintiff for the sum sought or in any amount

whatsoever.




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       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 75 of 92




                             TENTH AFFIRMATIVE DEFENSE

       If the evidence shows that Plaintiff was negligent in bringing about her alleged injuries

and damages and said negligence was equal to or greater than any negligence found on behalf of

Defendant MB or its agents, then Plaintiff is not entitled to damages in this action.

                            ELEVENTH AFFIRMATIVE DEFENSE

       If the evidence shows that Plaintiff was comparatively negligent in bringing about her

alleged injuries and damages, but said negligence was less than any negligence found on behalf

of Defendant MB or its agents, then any award of damages to Plaintiff should be reduced by the

extent of Plaintiff’s own negligence.

                             TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by Plaintiff’s contributory negligence.

                            THIRTEENTH AFFIRMATIVE DEFENSE

       The alleged hazard is open and obvious.

                           FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s damages were caused by the acts of others, and damages should be

apportioned accordingly.

                         FIFTEENTH AFFIRMATIVE DEFENSE

       Defendant MB has acted in good faith, not been stubbornly litigious, and has not caused

Plaintiff unnecessary trouble or expense. As a result, Plaintiff is not entitled to attorneys’ fees

under any theory of law.

                         SIXTEENTH AFFIRMATIVE DEFENSE

       Defendant MB incorporates herein by reference all other affirmative defenses set forth in

O.C.G.A. §9-11-8(c) to the extent same may be found applicable through discovery or otherwise.



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        Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 76 of 92




                        SEVENTEENTH AFFIRMATIVE DEFENSE

        Defendant MB responds to the specifically enumerated paragraphs of Plaintiff’s

Complaint as follows:

                                            ANSWER

                                                 1.

        Defendant MB admits the allegations of Paragraph 1 of Plaintiff’s Complaint.

                                                 2.

        Defendant MB is without knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 2 of Plaintiff’s Complaint, and therefore denies the same.

                                                 3.

        Defendant MB admits the allegations of Paragraph 3 of Plaintiff’s Complaint. By so

admitting, Defendant MB does not admit that this Court is the only Court with personal

jurisdiction.

                                                 4.

        Paragraph 4 of Plaintiff’s Complaint appears to be a legal statement to which no response

is required. To the extent a response is required, Defendant MB denies the allegations of

Paragraph 4 of Plaintiff’s Complaint

                                                 5.

        If Plaintiff was present on the Property on said date, Defendant MB admits that Plaintiff

was a licensee. Defendant MB is without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations of Paragraph 5 of Plaintiff’s Complaint, and therefore

denies the same.




                                               -4-
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 77 of 92




                                                  6.

       Defendant MB is without knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 6 of Plaintiff’s Complaint, and therefore denies the same.

                                                  7.

       Defendant MB is without knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 7 of Plaintiff’s Complaint, and therefore denies the same.

                                                  8.

       Defendant MB admits that it managed the property located at 1800 10th Avenue,

Columbus, Georgia 31901 on September 1, 2020. Defendant MB denies all remaining

allegations of Paragraph 8 of Plaintiff’s Complaint not expressly admitted herein.

                                                  9.

       Paragraph 9 of Plaintiff’s Complaint appears to be a legal statement to which no response

is required. To the extent a response is required, Defendant MB responds it is without knowledge

or information sufficient to form a belief as to the truth of the allegations of whether Plaintiff

was an invitee, and therefore denies the same.

                                                  10.

       Defendant MB denies the allegations of Paragraph 10 of Plaintiff’s Complaint.

                                                  11.

       Defendant MB denies the allegations of Paragraph 11 of Plaintiff’s Complaint.

                                                  12.

       Paragraph 12 of Plaintiff’s Complaint appears to be a legal statement to which no

response is required. To the extent a response is required, Defendant MB responds it is without




                                                 -5-
       Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 78 of 92




knowledge or information sufficient to form a belief as to the truth of the allegations of whether

Plaintiff was an invitee, and therefore denies the same.

                                                 13.

       Defendant MB denies the allegations of Paragraph 13 of Plaintiff’s Complaint.

                                                 14.

       Defendant MB denies the allegations of Paragraph 14 of Plaintiff’s Complaint.

                                                 15.

       Defendant MB denies the allegations of Paragraph 15 of Plaintiff’s Complaint.

                                                 16.

       Defendant MB denies the allegations of Paragraph 16 of Plaintiff’s Complaint.

                                                 17.

       Defendant MB denies the allegations of Paragraph 17 of Plaintiff’s Complaint.

                                                 18.

       Defendant MB denies the allegations of Paragraph 18 of Plaintiff’s Complaint.

                                                 19.

       Defendant MB denies any allegations in Plaintiff’s Complaint which have not been

expressly admitted herein, including all allegations of any and all WHEREFORE clauses of

Plaintiff’s Complaint.

                                    PRAYER FOR RELIEF

          WHEREFORE, Defendant MB Real Estate Services, Inc. respectfully requests that the

  following relief be granted:

          a)     That Plaintiff’s Complaint be dismissed with prejudice;

          b)     That Defendant be granted a jury trial of twelve;



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         c)    That Defendant be awarded its reasonable attorney’s fees and costs incurred in

               asserting its rights through this action; and,

         d)    That Defendant be awarded such other and further relief as this Court deems

               just and proper.

      This    15th   day of September, 2022.

                                            Respectfully submitted,

                                            SWIFT CURRIE MCGHEE & HIERS, LLP

                                            /s/ John M. McCall
                                            Rebecca E. Strickland, Esq.
                                            Georgia Bar No. 358183
                                            John M. McCall, Esq.
                                            Georgia Bar No. 778954
                                            Attorneys for Defendant MB Real Estate Services,
                                            Inc.
The Peachtree – Suite 300
1355 Peachtree Street, N.E.
Atlanta, Georgia 30309
Tel: 404-874-8800
Fax: 404-888-6199
Rebecca.strickland@swiftcurrie.com
jack.mccall@swiftcurrie.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed DEFENDANT MB REAL ESTATE

SERVICES, INC.’S ANSWER AND AFFIRMATIVE DEFENSES upon all parties to this

matter by e-filing same using the Odyssey E-FileGA System which will automatically send e-

mail notification of said filing to the following attorneys of record:

                                      Jeffrey G. James, Esq.
                                     Gulliana Goehring, Esq.
                                         The Fry Law Firm
                                    1720 Peachtree Street, NW
                                             Suite 500
                                      Atlanta, Georgia 30309
                                     jeff@thefrylawfirm.com
                                   gulliana@thefrylawfirm.com
                                       Attorneys for Plaintiff

                                        Jim W. Hardee, Esq.
                                   Fain, Major & Brennan, P.C.
                                5605 Glenridge Drive NE Suite 900
                                       Atlanta, Georgia 30342
                                      jhardee@fainmajor.com
                                Attorney for Defendant Bevara, Inc.

       This     15th   day of September, 2022.

                                               Respectfully submitted,

                                               SWIFT CURRIE MCGHEE & HIERS, LLP

                                               /s/ John M. McCall
                                               Rebecca E. Strickland, Esq.
                                               Georgia Bar No. 358183
                                               John M. McCall, Esq.
                                               Georgia Bar No. 778954
                                               Attorneys for Defendant MB Real Estate
The Peachtree – Suite 300                      Services, Inc.
1355 Peachtree Street, N.E.
Atlanta, Georgia 30309
Tel: 404-874-8800
Fax: 404-888-6199
Rebecca.strickland@swiftcurrie.com
jack.mccall@swiftcurrie.com 4863-0856-4784, v. 1

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                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA


OLA PELAEZ,                                       )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                ) CIVIL ACTION
                                                  ) FILE NO.: 22-C-04589-S2
BEVARA, INC., MB REAL ESTATE                      )
SERVICES, INC., JOHN DOES 1-3, AND                )
XYZ CORPORATION 1-3                               )
                                                  )
      Defendants.                                 )
_____________________________________             )

                     DEFENDANT MB REAL ESTATE SERVICES, INC.’S
                            NOTICE OF FILING REMOVAL

TO:    Jeffrey G. James, Esq.
       Gulliana Goehring, Esq.
       The Fry Law Firm
       1720 Peachtree Street, NW
       Suite 500
       Atlanta, Georgia 30309
       jeff@thefrylawfirm.com
       gulliana@thefrylawfirm.com
       Attorneys for Plaintiff

       PLEASE TAKE NOTICE that Defendant MB Real Estate Services, Inc. has on

September 15, 2022, filed its Notice of Removal, a copy of which is attached hereto as Exhibit 1,

in the Office of the Clerk of the United States District Court for the Northern District of Georgia,

Atlanta Division.

       This 15th day of September, 2022.

                                              SWIFT CURRIE MCGHEE & HIERS, LLP

                                              /s/ Rebecca E. Strickland
                                              Rebecca E. Strickland, Esq.
                                              Georgia Bar No. 358183
                                              John M. McCall, Esq.
                                              Georgia Bar No. 778954
                                              Attorneys for MB Real Estate Services, Inc.
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The Peachtree – Suite 300
1355 Peachtree Street, N.E.
Atlanta, Georgia 30309
Tel: 404-874-8800
Fax: 404-888-6199
Rebecca.strickland@swiftcurrie.com
jack.mccall@swiftcurrie.com




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                                 CERTIFICATE OF SERVICE

         I hereby certify that I have this day electronically filed the foregoing MB REAL

ESTATE SERVICES, INC.’S NOTICE OF FILING REMOVAL upon all parties to this

matter by e-filing same using the Odyssey E-FileGA System which will automatically send e-

mail notification of said filing to the following attorneys of record:

                                      Jeffrey G. James, Esq.
                                     Gulliana Goehring, Esq.
                                         The Fry Law Firm
                                    1720 Peachtree Street, NW
                                             Suite 500
                                      Atlanta, Georgia 30309
                                     jeff@thefrylawfirm.com
                                   gulliana@thefrylawfirm.com
                                       Attorneys for Plaintiff

                                        Jim W. Hardee, Esq.
                                    Fain, Major & Brennan, P.C.
                                5605 Glenridge Drive NE Suite 900
                                       Atlanta, Georgia 30342
                                      jhardee@fainmajor.com
                                Attorney for Defendant Bevara, Inc.

         This 15th day of September, 2022.

                                               Respectfully submitted,

                                               SWIFT CURRIE MCGHEE & HIERS, LLP

                                               /s/ Rebecca E. Strickland
                                               Rebecca E. Strickland, Esq.
                                               Georgia Bar No. 358183
                                               John M. McCall, Esq.
                                               Georgia Bar No. 778954
                                               Attorneys for MB Real Estate Services, Inc.
The Peachtree – Suite 300
1355 Peachtree Street, N.E.
Atlanta, Georgia 30309
Tel: 404-874-8800
Fax: 404-888-6199
Rebecca.strickland@swiftcurrie.com
jack.mccall@swiftcurrie.com
4895-4847-9024, v. 1

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         Exhibit 1
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

OLA PELAEZ,                               )
                                          )
              Plaintiff,                  )
                                          )   CIVIL ACTION
v.                                        )   FILE NO.:
                                          )
BEVARA, INC., MB REAL ESTATE              )   [On Removal from the State Court
SERVICES, INC.,                           )   of Gwinnett County, Civil Action
                                          )   File No.: 22-C-04589-S2]
              Defendants.                 )
                                          )

                            NOTICE OF REMOVAL

      COMES NOW, Defendant MB Real Estate Services, Inc. (“MB”),

Defendant in the above-styled proceeding, and within the time prescribed by law,

files this Notice of Removal, respectfully showing the Court the following:

                                         1.

      Plaintiff filed suit in the State Court of Gwinnett County, which is a county

within the Atlanta Division of this Court.      This suit is styled as above and

numbered Civil Action File Number 22-C-04589-S2 in the State Court of Gwinnett

County.
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                                             2.

       This suit arises out of an allegation that Plaintiff was injured in a slip and fall

accident. Plaintiff asserted claims against named Defendants Bevara, Inc. and MB

Real Estate Services, Inc. for negligence and attorney’s fees.

                                             3.

       In a pre-suit demand letter and a demand letter sent shortly after suit was

filed, Plaintiff asserted that her claim was worth in excess of $75,000.

(Declaration of John McCall, attached hereto as Exhibit B, at ¶ 3-5).

                                             4.

       Upon information and belief, Plaintiff is a resident of Georgia and is not a

resident of Delaware, Wisconsin, or Illinois.

                                             5.

       Defendant Bevara, Inc. is a foreign corporation organized under the laws of

the State of Delaware and with its principal place of business in the State of

Wisconsin. (See Complaint at ¶ 2).

                                             6.

       Defendant MB Real Estate Services, Inc. is a foreign corporation organized

under the laws of the State of Delaware with its principal place of business in the

State of Illinois.


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                                             7.

      Neither named defendant was a resident of the State at the time of the

subject incident, nor were either named defendant a citizen of the State of Georgia

on or after the date of filing of the aforesaid civil action.

                                             8.

      Defendant Bevara, Inc. consents to the removal of this action to Federal

Court. (See Consent to Removal, attached as Exhibit C hereto.)

                                             9.

      Complete diversity exists between the Parties in accordance with 28 U.S.C.

§ 1332. (See Complaint).

                                             10.

      As shown above, based upon Plaintiff’s demand letters, the amount in

controversy exceeds the sum of $75,000, exclusive of interest.

                                             11.

      The aforementioned civil action is a civil action of which this Court has

original jurisdiction under the provisions of Title 28 of the United States Code

§1332, and, accordingly, is one which may be removed to this Court by

Defendants pursuant to the provisions of Title 28 of the United States Code §1441,

in that it is a civil action in which the matter in controversy exceeds the sum of


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$75,000.00 exclusive of interest and costs and is between Plaintiff, who is a citizen

of Georgia; Defendant Bevara, Inc, which is alleged to be organized under the laws

of Delaware with its principal place of business in Wisconsin; and Defendant MB

Real Estate Services, Inc. which is alleged to be organized under the laws of

Delaware with its principal place of business in Illinois.

                                           12.

      Defendant MB Real Estate Services, Inc. shows that said suit was instituted

on August 12, 2022. Defendant MB Real Estate Services, Inc. shows that it was

served on August 16, 2022. Bevera, Inc. was served on August 15, 2022.

Defendant MB Real Estate Services, Inc. shows that this notice of removal is filed

within 30 days from the date of service of said suit on it.

                                           13.

      Attached hereto as Exhibit A are copies of all process, pleadings, and orders

served upon it in this case prior to the date of this Notice of Removal.

                                           14.

      Defendant MB Real Estate Services, Inc. has given written notice of the

filing of this Notice of Removal to Plaintiff by notifying her attorneys of record,

Jeffrey G. James, Esq. and Gulliana Goehring of The Fry Law Firm, 1720

Peachtree Street NW, Suite 500, Atlanta, Georgia 30309. Defendant MB Real


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Estate Services, Inc. also filed a written notice with the clerk of the State Court of

Gwinnett County, a copy of said notice being attached hereto and made a part

hereof.

      WHEREFORE, Defendant MB Real Estate Services, Inc. prays that this case

be removed to the United States District Court for the Northern District of Georgia,

Atlanta Division.

      This 15th day of September, 2022.

                                       Respectfully submitted,

                                       SWIFT, CURRIE, McGHEE & HIERS

                                       /s/ Rebecca E. Strickland
                                       Rebecca E. Strickland, Esq.
                                       Georgia Bar No. 358183
                                       John M. McCall, Esq.
                                       Georgia Bar No. 778954
                                       Attorneys for Defendant MB Real Estate
                                       Services, Inc.

1355 Peachtree St., N.E.
Suite 300
Atlanta, GA 30309-3238
Tel: (404) 874-8800
Rebecca.strickland@swiftcurrie.com
jack.mccall@swiftcurrie.com




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                  LOCAL RULE 5.1(C) CERTIFICATION

      By signature below, counsel certifies that the foregoing pleading was

prepared in Times New Roman, 14-point font in compliance with Local Rule

5.1(C).

      Respectfully submitted, this 15th day of September, 2022.

                                     Respectfully submitted,

                                     SWIFT, CURRIE, McGHEE & HIERS

                                     /s/ Rebecca E. Strickland
                                     Rebecca E. Strickland Esq.
                                     Georgia Bar No. 331302
                                     John M. McCall, Esq.
                                     Georgia Bar No. 778954
                                     Attorneys for Defendant MB Real Estate
                                     Services, Inc.

1355 Peachtree St., N.E.
Suite 300
Atlanta, GA 30309-3238
Tel: (404) 874-8800
Rebecca.strickland@swiftcurrie.com
jack.mccall@swiftcurrie.com




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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing NOTICE OF

REMOVAL via the CM/ECF System which will automatically send email

notification of said filing to the following attorneys of record:

                               Jeffrey G. James, Esq.
                              Gulliana Goehring, Esq.
                                  The Fry Law Firm
                             1720 Peachtree Street, NW
                                      Suite 500
                               Atlanta, Georgia 30309
                              jeff@thefrylawfirm.com
                            gulliana@thefrylawfirm.com
                                Attorneys for Plaintiff

                                 Jim W. Hardee, Esq.
                            Fain, Major & Brennan, P.C.
                         5605 Glenridge Drive NE Suite 900
                                Atlanta, Georgia 30342
                               jhardee@fainmajor.com
                         Attorney for Defendant Bevara, Inc.

      This 15th day of September, 2022.

                                        Respectfully submitted,

                                        SWIFT, CURRIE, McGHEE & HIERS

                                        /s/ Rebecca E. Strickland
                                        Rebecca E. Strickland, Esq.
                                        Georgia Bar No. 358183
                                        John M. McCall, Esq.
                                        Georgia Bar No. 778954
                                        Attorneys for Defendant MB Real Estate
                                        Services, Inc.

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         Case 1:22-cv-03714-VMC Document 1-1 Filed 09/15/22 Page 92 of 92




1355 Peachtree St., N.E.
Suite 300
Atlanta, GA 30309-3238
Tel: (404) 874-8800
Rebecca.strickland@swiftcurrie.com
jack.mccall@swiftcurrie.com
4889-2654-2384, v. 1




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